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Number                                                        (s) of         and/or Author of Location                      Accessed Document   Response
                                                              Document       Document
1         Wildfire Smoke Back into Lane September 15, 2017    P00000119100– KVAL              https://kval.                 August 15, 2018     No position
          County Overnight: Air Quality                       P00000119104                    com/news/local/wildfire-
          Alert in Effect until Sunday                                                        smoke-back-into-lane-
                                                                                              county-overnight-air-
                                                                                              quality-alert-in-effect-
                                                                                              until-sunday
2         Air Quality and School         September 4, 2017    P00000119112– Eugene 4J School https://www.4j.lane.           August 15, 2018     No position
          Activities                                          P00000119113 District, Oregon edu/2017/09/air-quality/
3         Algae alert issued for Odell   July 26, 2017        P00000119114– The Oregonian,    https://www.oregonlive.    August 15, 2018        No position
          Lake, popular summer spot in                        P00000119116 Bill Monroe        com/sports/oregonian/bill
          the Cascades                                                                        _monroe/index.
                                                                                              ssf/2017/07/algae_alert_is
                                                                                              sued_for_odell_l.html
4         Danger in the Air              September 4, 2017    P00000119128– The Register      https://www.                  August 15, 2018     No position
                                                              P00000119130 Guard, Theresa     registerguard.
                                                                            Novak             com/rg/news/local/35924
                                                                                              696-75/danger-in-the-
                                                                                              willamette-valley-air.html.
                                                                                              csp
5         How Important is Whitebark     December 21, 2015    P00000119131– National Park     https://www.nps.              August 15, 2018     No objection
          Pine to Grizzly Bears?                              P00000119137 Service            gov/yell/learn/how-
                                                                                              important-is-whitebark-
                                                                                              pine-to-grizzly-bears.htm
6         Is Hoodoo Done?                February 11, 2015    P00000119138– Bend Bulletin     https://www.bendbulletin. August 15, 2018         No position
                                                              P00000119141                    com/outdoors/2854005-
                                                                                              151/barely-there
7         Measuring the Impact of a      May 11, 2017         P00000119142– U.C. San Diego    https://ucsdnews.ucsd.   August 15, 2018          No position
          Changing Climate on                                 P00000119144 News Center        edu/feature/measuring_th
          Threatened Yellowstone                                                              e_impact_of_a_changing_
          Grizzly Bears                                                                       climate_on_threatened_ye
                                                                                              llowstone_grizzl
8         Mt. Pisgah Closes Trails Due to September 1, 2017   P00000119145– KMTR              https://nbc16.               August 15, 2018      No position
          Fire Danger                                         P00000119148                    com/news/local/mt-
                                                                                              pisgah-closes-trails-due-to-
                                                                                              fire-danger




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Number                                                         (s) of          and/or Author of Location                      Accessed Document   Response
                                                               Document        Document
9         Record Low Snowpack in          March 11, 2015       P00000119150– USDA                https://www.usda.         August 15, 2018        No objection
          Cascades, Sierra Nevada                              P00000119151                      gov/media/press-
                                                                                                 releases/2015/03/11/recor
                                                                                                 d-low-snowpack-cascades-
                                                                                                 sierra-nevada
10        Tree pollen Count: Anything     March 22, 2018       P00000119164- KVAL                https://kval.                August 15, 2018     No position
          over 90 is High. The count                           P00000119167                      com/news/local/tree-
          Wednesday? 329                                                                         pollen-count-anything-
                                                                                                 over-90-is-high-the-count-
                                                                                                 wednesday-329
11        Wildfire Smoke Breaks           September 10, 2017   P00000119171– The Register        https://www.                 August 15, 2018     No position
          Records                                              P00000119173 Guard, Elon          registerguard.
                                                                             Glucklich           com/rg/news/local/35939
                                                                                                 819-75/story.csp
12        Phase 2 Fuel Efficiency         August 2016          P00000182000- U.S. EPA and        https://www.nhtsa.           October 15, 2018    New document not
          Standards for Medium- and                            P00000182777 NHSTA                gov/sites/nhtsa.dot.                             reviewed by
          Heavy-Duty Engines and                                                                 gov/files/mdhd2-final-eis.                       Defendants
          Vehicles: Final EIS                                                                    pdf
13        Thick Wildfire Smoke Socks in   August 15, 2018      P00000121766    KOIN 6, Joseph    https://www.koin.            August 19, 2018     Objection -
          Portland Metro                                                       Dames             com/weather/thick-                               Inadequate
                                                                                                 wildfire-smoke-socks-in-                         foundation. Incorrect
                                                                                                 portland-                                        URL provided.
                                                                                                 metro/1367604400
14        15th Annual Report of the       1984                 P00000123010- CEQ                 https://www.slideshare.    November 29, 2016     No objection
          Council on Environmental                             P00000123743                      net/whitehouse/august-
          Quality                                                                                1984-the-fifteenth-annual-
                                                                                                 report-of-the-council-on-
                                                                                                 environmental-quality
15        Restoring the Quality of Our  November 1965          P00000123785- The White House https://babel.hathitrust.        August 20, 2016     No position
          Environment, Report of the                           P00000124115                  org/cgi/pt?id=uiug.
          Environmental Pollution Panel                                                      30112067733771
          of the President's Science
          Advisory Committee
16        Funding Energy Research and     August 26, 1970      P00000124116- Office of Science   Richard Nixon Presidential   August 1, 2018      No position
          Development                                          P00000124124 and Technology,      Library
                                                                             Energy Policy
                                                                             Staff


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Number                                                          (s) of          and/or Author of Location                     Accessed Document   Response
                                                                Document        Document
17        Letter to John Gibbons,       December 23, 1986       P00000124125- Senators Stafford Obtained from former          June 7, 2017        Objection -
          Executive Director of U.S.                            P00000124126 et al.             government employee                               inadequate
          Congress Office of Technology                                                                                                           foundation.
          Assessment
18        Biennial Science and             1985                 P00000124127- Office of Science   https://babel.hathitrust.   February 10, 2017   No position
          Technology Report to                                  P00000124279 and Technology       org/cgi/pt?id=uiug.
          Congress: 1983-1984                                                 Policy              30112101052089;
                                                                                                  view=1up;seq=3
19        Order Granting Long-Term       May 7, 2001            P00000124376- US Dept. of         https://fossil.energy.     September 12, 2018   No objection
          Authorization to Export                               P00000124379 Energy, Office of    gov/ng_regulation/sites/d
          Natural Gas to Mexico, FE Dkt.                                      Fossil Energy       efault/files/programs/gasr
          No. 01-15-NG                                                                            egulation/authorizations/2
                                                                                                  001/orders/ord1678.pdf
20        Order Granting Long-Term         April 9, 2002        P00000124380- US Dept. of         https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                               P00000124383 Energy, Office of    gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                         Fossil Energy       efault/files/programs/gasr
          Dkt. No. 02-15-NG                                                                       egulation/authorizations/2
                                                                                                  002/orders/ord1765.pdf
21        Order Granting Long-Term         May 29, 2002         P00000124384- US Dept. of         https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                               P00000124388 Energy, Office of    gov/ng_regulation/sites/d
          Liquefied Natural Gas, FE Dkt.                                      Fossil Energy       efault/files/programs/gasr
          No. 02-26-LNG                                                                           egulation/authorizations/2
                                                                                                  002/orders/ord1780.pdf
22        Order Granting Long-Term         September 12, 2002   P00000124389- US Dept. of         https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                               P00000124392 Energy, Office of    gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                         Fossil Energy       efault/files/programs/gasr
          Dkt. No. 02-59-NG                                                                       egulation/authorizations/2
                                                                                                  002/orders/ord1807.pdf
23        Order Granting Long-Term         January 2, 2003      P00000124393- US Dept. of         https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                               P00000124396 Energy, Office of    gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                         Fossil Energy       efault/files/programs/gasr
          Dkt. No. 02-96-NG                                                                       egulation/authorizations/2
                                                                                                  003/orders/ord1839.pdf




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24        Order Granting Long-Term       January 7, 2003     P00000124397- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                            P00000124400 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                      Fossil Energy      efault/files/programs/gasr
          Dkt. No. 02-97-NG                                                                   egulation/authorizations/2
                                                                                              003/orders/ord1843.pdf
25        Order Granting Blanket         May 9, 1997         P00000124401- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Export                            P00000124404 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas to Canada and                                        Fossil Energy      efault/files/programs/gasr
          Mexico, FE Dkt. No. 97-24-NG                                                        egulation/authorizations/1
                                                                                              997/orders/ord1273.pdf
26        Order Granting Long-Term       May 6, 1997         P00000124405- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                            P00000124410 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                      Fossil Energy      efault/files/programs/gasr
          Dkt. No. 97-35-NG                                                                   egulation/authorizations/1
                                                                                              997/orders/ord1272.pdf
27        Order Granting Long-Term       July 15, 2003       P00000124411- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Export                            P00000124414 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas to Mexico, FE Dkt.                                   Fossil Energy      efault/files/programs/gasr
          No. 03-30-NG                                                                        egulation/authorizations/2
                                                                                              003/orders/ord1877.pdf
28        Order Granting Long-Term       December 30, 2003   P00000124415- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                            P00000124418 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                       Fossil Energy      efault/files/programs/gasr
          the Federal Republic of                                                             egulation/authorizations/2
          Nigeria, FE Dkt. No. 03-76-LNG                                                      003/orders/ord1932.pdf
29        Order Granting Authorization   March 30, 2004      P00000124419- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          to Import Natural Gas from                         P00000124423 Energy, Office of   gov/ng_regulation/sites/d
          Canada, FE Dkt. No. 04-23-NG                                     Fossil Energy      efault/files/programs/gasr
                                                                                              egulation/authorizations/2
                                                                                              004/orders/ord1958.pdf
30        Order Granting Authorization   March 30, 2004      P00000124424- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          to Import Natural Gas from                         P00000124428 Energy, Office of   gov/ng_regulation/sites/d
          Canada, FE Dkt. No. 04-24-NG                                     Fossil Energy      efault/files/programs/gasr
                                                                                              egulation/authorizations/2
                                                                                              004/orders/ord1959.pdf




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31        Order Granting Authorization   March 30, 2004     P00000124429- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          to Import Natural Gas from                        P00000124433 Energy, Office of   gov/ng_regulation/sites/d
          Canada, FE Dkt. No. 04-26-NG                                    Fossil Energy      efault/files/programs/gasr
                                                                                             egulation/authorizations/2
                                                                                             004/orders/ord1960.pdf
32        Order Granting Authorization   March 30, 2004     P00000124434- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          to Import Natural Gas from                        P00000124438 Energy, Office of   gov/ng_regulation/sites/d
          Canada, FE Dkt. No. 04-27-NG                                    Fossil Energy      efault/files/programs/gasr
                                                                                             egulation/authorizations/2
                                                                                             004/orders/ord1961.pdf
33        Order Granting Authorization   March 30, 2004     P00000124439- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          to Import Natural Gas from                        P00000124443 Energy, Office of   gov/ng_regulation/sites/d
          Canada, FE Dkt. No. 04-33-NG                                    Fossil Energy      efault/files/programs/gasr
                                                                                             egulation/authorizations/2
                                                                                             004/orders/ord1962.pdf
34        Order Granting Authorization   April 1, 2004      P00000124444- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          to Import Natural Gas from                        P00000124448 Energy, Office of   gov/ng_regulation/sites/d
          Canada, FE Dkt. No. 04-22-NG                                    Fossil Energy      efault/files/programs/gasr
                                                                                             egulation/authorizations/2
                                                                                             004/orders/ord1970.pdf
35        Order Granting Authorization   April 1, 2004      P00000124449- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          to Import Natural Gas from                        P00000124453 Energy, Office of   gov/ng_regulation/sites/d
          Canada, FE Dkt. No. 04-25-NG                                    Fossil Energy      efault/files/programs/gasr
                                                                                             egulation/authorizations/2
                                                                                             004/orders/ord1966.pdf
36        Order Granting Authorization   April 1, 2004      P00000124454- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          to Import Natural Gas from                        P00000124458 Energy, Office of   gov/ng_regulation/sites/d
          Canada, FE Dkt. No. 04-28-NG                                    Fossil Energy      efault/files/programs/gasr
                                                                                             egulation/authorizations/2
                                                                                             004/orders/ord1971.pdf
37        Order Granting Authorization   April 1, 2004      P00000124459- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          to Import Natural Gas from                        P00000124463 Energy, Office of   gov/ng_regulation/sites/d
          Canada, FE Dkt. No. 04-29-NG                                    Fossil Energy      efault/files/programs/gasr
                                                                                             egulation/authorizations/2
                                                                                             004/orders/ord1969.pdf




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                                                               Document       Document
38        Order Granting Authorization     April 1, 2004       P00000124464- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          to Import Natural Gas from                           P00000124469 Energy, Office of   gov/ng_regulation/sites/d
          Canada, FE Dkt. No. 04-30-NG                                       Fossil Energy      efault/files/programs/gasr
                                                                                                egulation/authorizations/2
                                                                                                004/orders/ord1967.pdf
39        Order Granting Authorization     April 1, 2004       P00000124470- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          to Import Natural Gas from                           P00000124474 Energy, Office of   gov/ng_regulation/sites/d
          Canada, FE Dkt. No. 04-32-NG                                       Fossil Energy      efault/files/programs/gasr
                                                                                                egulation/authorizations/2
                                                                                                004/orders/ord1968.pdf
40        Order Granting Long-Term         April 19, 2004      P00000124475- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124478 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          Various International Sources,                                                        egulation/authorizations/2
          FE Dkt. No. 04-39-NG                                                                  004/orders/ord1977.pdf
41        Order Granting Long-Term         November 16, 2004   P00000124479- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124482 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                        Fossil Energy      efault/files/programs/gasr
          Dkt. No. 04-106-NG                                                                    egulation/authorizations/2
                                                                                                004/orders/ord2045.pdf
42        Order Granting Long-Term         November 16, 2004   P00000124483- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124486 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                        Fossil Energy      efault/files/programs/gasr
          Dkt. No. 04-107-NG                                                                    egulation/authorizations/2
                                                                                                004/orders/ord2046.pdf
43        Order Granting Authorization     December 6, 2004    P00000124487- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          to Import Natural Gas from                           P00000124490 Energy, Office of   gov/ng_regulation/sites/d
          Canada, FE Dkt. No. 04-121-                                        Fossil Energy      efault/files/programs/gasr
          NG                                                                                    egulation/authorizations/2
                                                                                                004/orders/ord20512.pdf
44        Order Granting Long-Term         June 24, 2005       P00000124491- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124507 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                        Fossil Energy      efault/files/programs/gasr
          Dkt. No. 05-24-NG                                                                     egulation/authorizations/2
                                                                                                005/orders/ord2104.pdf




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Number                                                      (s) of         and/or Author of Location                   Accessed Document     Response
                                                            Document       Document
45        Order Granting Long-Term      June 24, 2005       P00000124508- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                           P00000124526 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                     Fossil Energy      efault/files/programs/gasr
          Dkt. No. 05-25-NG                                                                  egulation/authorizations/2
                                                                                             005/orders/ord2103.pdf
46        Order Granting Long-Term      June 24, 2005       P00000124527- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                           P00000124542 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                     Fossil Energy      efault/files/programs/gasr
          Dkt. No. 05-27-NG                                                                  egulation/authorizations/2
                                                                                             005/orders/ord2105.pdf
47        Order Granting Long-Term      December 28, 2005   P00000124543- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                           P00000124547 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                     Fossil Energy      efault/files/programs/gasr
          Dkt. No. 05-49-NG                                                                  egulation/authorizations/2
                                                                                             005/orders/ord2164.pdf
48        Order Granting Long-Term       March 20, 2006     P00000124548- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                       P00000124552 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                     Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 05-104-                                                     egulation/authorizations/2
          NG                                                                                 006/orders/ord2179.pdf
49        Order Granting Long-Term       March 20, 2006     P00000124553- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                       P00000124557 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                     Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 05-105-                                                     egulation/authorizations/2
          NG                                                                                 006/orders/ord2180.pdf
50        Order Granting Long-Term       March 20, 2006     P00000124558- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                       P00000124562 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                     Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 05-106-                                                     egulation/authorizations/2
          NG                                                                                 006/orders/ord2181.pdf
51        Order Granting Long-Term       March 20, 2006     P00000124563- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                       P00000124567 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                     Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 05-107-                                                     egulation/authorizations/2
          NG                                                                                 006/orders/ord2182.pdf




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52        Order Granting Long-Term       March 20, 2006       P00000124568- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                         P00000124572 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 05-108-                                                       egulation/authorizations/2
          NG                                                                                   006/orders/ord2183.pdf
53        Order Granting Long-Term         March 20, 2006     P00000124573- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                             P00000124577 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada and                                       Fossil Energy      efault/files/programs/gasr
          to Vacating Prior                                                                    egulation/authorizations/2
          Authorization, FE Dkt. No. 05-                                                       006/orders/ord2186.pdf
          48-NG
54        Order Granting Long-Term         March 20, 2006     P00000124578- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                             P00000124583 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada and                                       Fossil Energy      efault/files/programs/gasr
          to Vacating Prior                                                                    egulation/authorizations/2
          Authorization, FE Dkt. No. 05-                                                       006/orders/ord2188.pdf
          50-NG
55        Order Granting Long-Term         May 22, 2006       P00000124590- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                             P00000124594 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                        Fossil Energy      efault/files/programs/gasr
          the Republic of Trinidad and                                                         egulation/authorizations/2
          Tobago, FE Dkt. No. 05-114-                                                          006/orders/ord2199.pdf
          LNG
56        Order Granting Long-Term         July 21, 2006      P00000124595- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                         P00000124599 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 06-18-                                                        egulation/authorizations/2
          NG                                                                                   006/orders/ord2230.pdf
57        Order Granting Long-Term         July 21, 2006      P00000124600- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                         P00000124604 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 06-19-                                                        egulation/authorizations/2
          NG                                                                                   006/orders/ord2231.pdf




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Number                                                         (s) of         and/or Author of Location                   Accessed Document     Response
                                                               Document       Document
58        Order Granting Long-Term         October 27, 2006    P00000124605- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                          P00000124610 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 06-53-                                                         egulation/authorizations/2
          LNG                                                                                   006/orders/ord2282.pdf
59        Order Granting Long-Term         November 17, 2006   P00000124611- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124624 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          the Arab Republic of Egypt, FE                                                        egulation/authorizations/2
          Dkt. No. 06-01-LNG                                                                    006/orders/ord2283.pdf
60        Order Granting Long-Term         November 17, 2006   P00000124625- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124636 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          the Arab Republic of Egypt, FE                                                        egulation/authorizations/2
          Dkt. No. 06-03-LNG                                                                    006/orders/ord2285.pdf
61        Order Granting Long-Term         November 17, 2006   P00000124651- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124656 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          Various International Sources,                                                        egulation/authorizations/2
          FE Dkt. No. 06-02-LNG                                                                 006/orders/ord2284.pdf
62        Order Granting Long-Term         November 17, 2006   P00000124657- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124662 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          the Republic of Trinidad and                                                          egulation/authorizations/2
          Tobago, FE Dkt. No. 06-04-                                                            006/orders/ord2286.pdf
          LNG
63        Order Granting Long-Term      November 17, 2006      P00000124663- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124668 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          the Republic of Equatorial                                                            egulation/authorizations/2
          Guinea, FE Dkt. No. 06-06-LNG                                                         006/orders/ord2288.pdf
64        Order Granting Long-Term         May 14, 2007        P00000124669- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                          P00000124673 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-23-                                                         egulation/authorizations/2
          NG                                                                                    007/orders/ord2352.pdf




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Number                                                         (s) of         and/or Author of Location                   Accessed Document     Response
                                                               Document       Document
65        Order Granting Long-Term         May 14, 2007        P00000124674- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                          P00000124678 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-24-                                                         egulation/authorizations/2
          NG                                                                                    007/orders/ord2353.pdf
66        Order Granting Long-Term         May 14, 2007        P00000124679- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                          P00000124683 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-25-                                                         egulation/authorizations/2
          NG                                                                                    007/orders/ord23541.pdf
67        Order Granting Long-Term         November 17, 2006   P00000124684- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124695 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          the Arab Republic of Egypt, FE                                                        egulation/authorizations/2
          Dkt. No. 06-05-LNG                                                                    006/orders/ord22871.pdf
68        Order Granting Long-Term       October 31, 2007      P00000124696- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                          P00000124700 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-100-                                                        egulation/authorizations/2
          NG                                                                                    007/orders/ord2435.pdf
69        Order Granting Long-Term       October 31, 2007      P00000124701- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                          P00000124706 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-101-                                                        egulation/authorizations/2
          NG                                                                                    007/orders/ord2436.pdf
70        Order Granting Long-Term       October 31, 2007      P00000124707- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                          P00000124712 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-102-                                                        egulation/authorizations/2
          NG                                                                                    007/orders/ord2437.pdf
71        Order Granting Long-Term       October 31, 2007      P00000124713- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                          P00000124718 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-103-                                                        egulation/authorizations/2
          NG                                                                                    007/orders/ord2438.pdf




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Number                                                       (s) of         and/or Author of Location                   Accessed Document     Response
                                                             Document       Document
72        Order Granting Long-Term        October 31, 2007   P00000124719- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                        P00000124724 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-93-                                                       egulation/authorizations/2
          NG                                                                                  007/orders/ord2429.pdf
73        Order Granting Long-Term        October 31, 2007   P00000124725- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                        P00000124730 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-94-                                                       egulation/authorizations/2
          NG                                                                                  007/orders/ord2430.pdf
74        Order Granting Long-Term        October 31, 2007   P00000124731- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                        P00000124735 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-95-                                                       egulation/authorizations/2
          NG                                                                                  007/orders/ord2431.pdf
75        Order Granting Long-Term        October 31, 2007   P00000124736- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                        P00000124741 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-96-                                                       egulation/authorizations/2
          NG                                                                                  007/orders/ord2432.pdf
76        Order Granting Long-Term        October 31, 2007   P00000124742- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                        P00000124747 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-97-                                                       egulation/authorizations/2
          NG                                                                                  007/orders/ord2433.pdf
77        Order Granting Long-Term        October 31, 2007   P00000124748- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                        P00000124753 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-98-                                                       egulation/authorizations/2
          NG                                                                                  007/orders/ord2439.pdf
78        Order Granting Long-Term        October 31, 2007   P00000124754- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                        P00000124758 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-99-                                                       egulation/authorizations/2
          NG                                                                                  007/orders/ord2434.pdf




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Number                                                        (s) of         and/or Author of Location                   Accessed Document     Response
                                                              Document       Document
79        Order Granting Long-Term        February 29, 2008   P00000124759- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                         P00000124763 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Mexico, FE Dkt. No. 08-12-                                                        egulation/authorizations/2
          NG                                                                                   008/orders/ord2473.pdf
80        Order Granting Long-Term        April 22, 2008      P00000124764- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                             P00000124767 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 08-26-NG                                                                    egulation/authorizations/2
                                                                                               008/orders/ord2489.pdf
81        Order Granting Long-Term       June 20, 2008        P00000124768- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Export                             P00000124771 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas to Mexico, FE Dkt.                                    Fossil Energy      efault/files/programs/gasr
          No. 08-38-NG                                                                         egulation/authorizations/2
                                                                                               008/orders/ord2506.pdf
82        Order Granting Long-Term        August 14, 2008     P00000124772- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                             P00000124776 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                        Fossil Energy      efault/files/programs/gasr
          the Republic of Trinidad and                                                         egulation/authorizations/2
          Tobago, FE Dkt. No. 08-64-                                                           008/orders/ord2527.pdf
          LNG
83        Order Granting Long-Term        December 18, 2008   P00000124777- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Export                             P00000124780 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas to Mexico and                                         Fossil Energy      efault/files/programs/gasr
          Vacating Prior Authorization,                                                        egulation/authorizations/2
          FE Dkt. No. 08-136-NG                                                                008/orders/ord2592.pdf
84        Order Granting Long-Term      February 9, 2009      P00000124781- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                             P00000124784 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                        Fossil Energy      efault/files/programs/gasr
          Qatar, FE Dkt. No. 08-152-LNG                                                        egulation/authorizations/2
                                                                                               009/orders/ord2609.pdf
85        Order Granting Long-Term        October 7, 2009     P00000124785- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                         P00000124788 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 09-94-                                                        egulation/authorizations/2
          NG                                                                                   009/orders/ord2712.pdf




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Number                                                         (s) of         and/or Author of Location                   Accessed Document     Response
                                                               Document       Document
86        Order Granting Long-Term         October 7, 2009     P00000124789- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                          P00000124792 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 09-95-                                                         egulation/authorizations/2
          NG                                                                                    009/orders/ord2707.pdf
87        Order Granting Long-Term         October 26, 2009    P00000124793- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                          P00000124797 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 09-87-                                                         egulation/authorizations/2
          NG                                                                                    009/orders/ord2717.pdf
88        Order Granting Long-Term         October 26, 2009    P00000124798- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                          P00000124802 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 09-88-                                                         egulation/authorizations/2
          NG                                                                                    009/orders/ord2718.pdf
89        Order Granting Long-Term         October 19, 2009    P00000124803- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                          P00000124807 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 09-89-                                                         egulation/authorizations/2
          NG                                                                                    009/orders/ord2719.pdf
90        Order Granting Long-Term         February 12, 2010   P00000124808- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124811 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                        Fossil Energy      efault/files/programs/gasr
          Dkt. No. 10-06-NG                                                                     egulation/authorizations/2
                                                                                                010/orders/ord2749.pdf
91        Order Granting Blanket           April 22, 2010      P00000124812- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124816 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada and                                        Fossil Energy      efault/files/programs/gasr
          Mexico, and to Import                                                                 egulation/authorizations/2
          Liquefied Natural Gas from                                                            010/orders/ord2782.pdf
          Various International Sources,
          FE Dkt. No. 10-43-NG
92        Order Granting Long-Term         April 22, 2010      P00000124817- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124821 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          Norway, FE Dkt. No. 10-36-                                                            egulation/authorizations/2
          LNG                                                                                   010/orders/ord2781.pdf



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Number                                                         (s) of         and/or Author of Location                   Accessed Document     Response
                                                               Document       Document
93        Order Granting Long-Term       April 28, 2010        P00000124822- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124826 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          Nigeria, FE Dkt. No. 10-37-LNG                                                        egulation/authorizations/2
                                                                                                010/orders/ord2783.pdf
94        Order Granting Long-Term         September 7, 2010   P00000124827- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Export                              P00000124834 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          Sabine Pass LNG Terminal to                                                           egulation/authorizations/2
          Free Trade Nations, FE Dkt.                                                           010/orders/ord28332.pdf
          No. 10-85-LNG
95        Order Granting Blanket           December 3, 2010    P00000124835- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Export                              P00000124842 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas, FE Dkt.                                     Fossil Energy      efault/files/programs/gasr
          No. 10-110-LNG                                                                        egulation/authorizations/2
                                                                                                010/orders/ord2885.pdf
96        Order Granting Blanket           December 8, 2010    P00000124843- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Export                              P00000124851 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas, FE Dkt.                                     Fossil Energy      efault/files/programs/gasr
          No. 10-114-LNG                                                                        egulation/authorizations/2
                                                                                                010/orders/ord2888.pdf
97        Order Granting Long-Term      December 13, 2010      P00000124852- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124855 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          Qatar, FE Dkt. No. 10-143-LNG                                                         egulation/authorizations/2
                                                                                                010/orders/ord2889.pdf
98        Order Granting Long-Term         January 5, 2011     P00000124856- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                              P00000124859 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          Qatar by Vessel, FE Dkt. No.                                                          egulation/authorizations/2
          10-159-LNG                                                                            011/orders/ord2898.pdf
99        Order Granting Long-Term       February 10, 2011     P00000124860- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Export                              P00000124871 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          Freeport LNG Terminal to Free                                                         egulation/authorizations/2
          Trade Nations, FE Dkt. No. 10-                                                        011/orders/ord2913.pdf
          160-LNG



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Number                                                         (s) of         and/or Author of Location                   Accessed Document     Response
                                                               Document       Document
100       Order Granting Long-Term         February 17, 2011   P00000124872- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                              P00000124876 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          the Arab Republic of Egypt, FE                                                        egulation/authorizations/2
          Dkt. No. 11-09-LNG                                                                    011/orders/ord2917.pdf
101       Order Granting Blanket           March 3, 2011       P00000124877- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Export                              P00000124884 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas, FE Dkt.                                     Fossil Energy      efault/files/programs/gasr
          No. 10-152-LNG                                                                        egulation/authorizations/2
                                                                                                011/orders/ord2923.pdf
102       Order Granting Long-Term         July 18, 2011       P00000124885- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                              P00000124888 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          Canada by Truck, FE Dkt. No.                                                          egulation/authorizations/2
          11-76-LNG                                                                             011/applications/ord2985.
                                                                                                pdf
103       Order Granting Blanket           July 19, 2011       P00000124889- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                              P00000124901 Energy, Office of   gov/ng_regulation/sites/d
          Previously Imported Liquefied                                      Fossil Energy      efault/files/programs/gasr
          Natural Gas by Vessel, FE Dkt.                                                        egulation/authorizations/2
          No. 11-51-LNG                                                                         011/orders/ord29861.pdf
104       Order Granting Long-Term         July 25, 2011       P00000124902- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                              P00000124905 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                        Fossil Energy      efault/files/programs/gasr
          Dkt. No. 11-85-NG                                                                     egulation/authorizations/2
                                                                                                011/applications/ord2989.
                                                                                                pdf
105       Order Granting Long-Term         July 25, 2011       P00000124906- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                              P00000124909 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                        Fossil Energy      efault/files/programs/gasr
          Dkt. No. 11-86-NG                                                                     egulation/authorizations/2
                                                                                                011/applications/ord2990.
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Number                                                        (s) of         and/or Author of Location                   Accessed Document     Response
                                                              Document       Document
106       Order Granting Long-Term         July 27, 2011      P00000124910- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                        P00000124915 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas to Free Trade Agreement                                                          egulation/authorizations/2
          Nations in Central America,                                                          011/applications/ord2993.
          South America, or the                                                                pdf
          Caribbean by Vessel in ISO
          Containers, FE Dkt. No. 11-71-
          LNG
107       Order Granting Long-Term         October 7, 2011    P00000124916- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                        P00000124925 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the Cove                                                          egulation/authorizations/2
          Point LNG Terminal to Free                                                           011/orders/ord3019.pdf
          Trade Agreement Nations, FE
          Dkt. No. 11-115-LNG
108       Order Granting Long-Term       October 31, 2011     P00000124926- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                         P00000124929 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 11-116-                                                       egulation/authorizations/2
          NG                                                                                   011/orders/ord3022.pdf
109       Order Granting Long-Term       October 31, 2011     P00000124930- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                         P00000124933 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 11-117-                                                       egulation/authorizations/2
          NG                                                                                   011/orders/ord3023.pdf
110       Order Granting Long-Term       October 31, 2011     P00000124934- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                         P00000124937 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 11-118-                                                       egulation/authorizations/2
          NG                                                                                   011/orders/ord3024.pdf
111       Order Granting Long-Term       October 31, 2011     P00000124938- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                         P00000124941 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 11-119-                                                       egulation/authorizations/2
          NG                                                                                   011/orders/ord3025.pdf




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112       Order Granting Long-Term       October 31, 2011      P00000124942- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                          P00000124945 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 11-120-                                                        egulation/authorizations/2
          NG                                                                                    011/orders/ord3026.pdf
113       Order Granting Long-Term       October 31, 2011      P00000124946- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                          P00000124949 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 11-121-                                                        egulation/authorizations/2
          NG                                                                                    011/orders/ord3027.pdf
114       Order Granting Long-Term       October 31, 2011      P00000124950- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                          P00000124953 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 11-122-                                                        egulation/authorizations/2
          NG                                                                                    011/orders/ord3028.pdf
115       Order Granting Blanket           November 22, 2011   P00000124954- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                              P00000124964 Energy, Office of   gov/ng_regulation/sites/d
          Previously Imported Liquefied                                      Fossil Energy      efault/files/programs/gasr
          Natural Gas by Vessel, FE Dkt.                                                        egulation/authorizations/2
          No. 11-109-LNG                                                                        011/orders/ord3038.pdf
116       Order Granting Long-Term         December 7, 2011    P00000124965- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                         P00000124980 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                        Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the Jordan                                                         egulation/authorizations/2
          Cove LNG Terminal to Free                                                             011/orders/ord3041.pdf
          Trade Agreement Nations, FE
          Dkt. No. 11-127-LNG
117       Order Granting Blanket           January 9, 2012     P00000124981- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                              P00000124995 Energy, Office of   gov/ng_regulation/sites/d
          Previously Imported Liquefied                                      Fossil Energy      efault/files/programs/gasr
          Natural Gas by Vessel, FE Dkt.                                                        egulation/authorizations/2
          No. 11-98-NG                                                                          011/applications/ord3055
                                                                                                1.pdf




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118       Order Granting Long-Term         January 17, 2012   P00000124996- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125005 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the                                                               egulation/authorizations/2
          Cameron LNG Terminal to                                                              012/orders/ord3059.pdf
          Free Trade Agreement
          Nations, FE Dkt. No. 11-145-
          LNG
119       Order Granting Long-Term      February 10, 2012     P00000125006- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125015 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the                                                               egulation/authorizations/2
          Freeport LNG Terminal to Free                                                        012/orders/ord3066.pdf
          Trade Agreement Nations, FE
          Dkt. No. 12-06-LNG
120       Order Granting Long-Term         June 15, 2012      P00000125016- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125025 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the Gulf                                                          egulation/authorizations/2
          LNG Energy, LLC Terminal to                                                          012/orders/ord3104.pdf
          Free Trade Agreement
          Nations, FE Dkt. No. 12-47-
          LNG
121       Order Granting Long-Term         June 15, 2012      P00000125026- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125031 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas to Free Trade Agreement                                                          egulation/authorizations/2
          Nations in Central America,                                                          012/orders/ord3105.pdf
          South America, or the
          Caribbean by Vessel in ISO
          Containers, FE Dkt. No. 12-50-
          LNG




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122       Order Granting Long-Term         June 15, 2012      P00000125032- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi Contract Authorization                        P00000125040 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the Elba                                                          egulation/authorizations/2
          Island Terminal to Free Trade                                                        012/orders/ord3106.pdf
          Agreement Nations, FE Dkt.
          No. 12-54-LNG
123       Order Granting Long-Term      September 27, 2012    P00000125041- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125051 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the Golden                                                        egulation/authorizations/2
          Pass LNG Terminal to Free                                                            012/orders/ord3147.pdf
          Trade Agreement Nations, FE
          Dkt. No. 12-88-LNG
124       Order Granting Long-Term         October 4, 2012    P00000125052- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                         P00000125055 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 12-91-                                                        egulation/authorizations/2
          NG                                                                                   012/orders/ord3151.pdf
125       Order Granting Long-Term         October 4, 2012    P00000125056- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                         P00000125059 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 12-92-                                                        egulation/authorizations/2
          NG                                                                                   012/orders/ord3152.pdf
126       Order Granting Blanket           October 11, 2012   P00000125060- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                             P00000125070 Energy, Office of   gov/ng_regulation/sites/d
          Previously Imported Liquefied                                     Fossil Energy      efault/files/programs/gasr
          Natural Gas by Vessel, FE Dkt.                                                       egulation/authorizations/2
          No. 12-76-LNG                                                                        012/orders/ord3162.pdf
127       Order Granting Long-Term         October 16, 2012   P00000125071- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125082 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the                                                               egulation/authorizations/2
          Proposed Corpus Christi                                                              012/orders/ord3164.pdf
          Liquefaction Project to Free
          Trade Agreement Nations, FE
          Dkt. No. 12-99-LNG



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128       Order Granting Long-Term       November 13, 2012   P00000125083- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125086 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 12-108-                                                      egulation/authorizations/2
          NG                                                                                  012/orders/ord3188.pdf
129       Order Granting Long-Term       November 13, 2012   P00000125087- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125090 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 12-109-                                                      egulation/authorizations/2
          NG                                                                                  012/orders/ord3189.pdf
130       Order Granting Long-Term       November 21, 2012   P00000125091- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                       P00000125101 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                      Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the                                                              egulation/authorizations/2
          Proposed CE FLNG LNG                                                                012/orders/ord3193.pdf
          Terminal in Plaquemines
          Parish, Louisiana, to Free
          Trade Agreement Nations, FE
          Dkt. No. 12-123-LNG
131       Order Granting Long-Term       November 13, 2012   P00000125102- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125105 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 12-105-                                                      egulation/authorizations/2
          NG                                                                                  012/orders/ord3185correc
                                                                                              t.pdf
132       Order Granting Long-Term       November 13, 2012   P00000125106- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125109 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 12-106-                                                      egulation/authorizations/2
          NG                                                                                  012/orders/ord3186correc
                                                                                              t.pdf
133       Order Granting Long-Term       November 13, 2012   P00000125110- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125113 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 12-107-                                                      egulation/authorizations/2
          NG                                                                                  012/orders/ord3187correc
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134       Order Granting Long-Term         December 20, 2012   P00000125114- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                         P00000125125 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                        Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the                                                                egulation/authorizations/2
          Proposed Waller Point LNG                                                             012/orders/ord3211.pdf
          Terminal in Cameron Parish,
          Louisiana, to Free Trade
          Agreement Nations, FE Dkt.
          No. 12-152-LNG
135       Order Granting Long-Term         January 8, 2013     P00000125126- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                         P00000125132 Energy, Office of   gov/ng_regulation/sites/d
          to Export Compressed Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas by Truck from the                                                                 egulation/authorizations/2
          Proposed Compressor Station                                                           013/orders/ord3222.pdf
          in Baileyville, Maine, to
          Canada, FE Dkt. No. 12-168-
          CNG
136       Order Granting Long-Term         January 30, 2013    P00000125133- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                         P00000125144 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                        Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the                                                                egulation/authorizations/2
          Proposed South Texas LNG                                                              013/orders/ord32271.pdf
          Export Project to Free Trade
          Agreement Nations, FE Dkt.
          No. 12-174-LNG
137       Order Granting Blanket           February 13, 2013   P00000125145- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                              P00000125153 Energy, Office of   gov/ng_regulation/sites/d
          Previously Imported Liquefied                                      Fossil Energy      efault/files/programs/gasr
          Natural Gas by Vessel, FE Dkt.                                                        egulation/authorizations/2
          No. 12-155-LNG                                                                        013/orders/ord3231.pdf




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138       Order Granting Long-Term         February 26, 2013   P00000125154- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                         P00000125166 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                        Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the                                                                egulation/authorizations/2
          Proposed Magnolia LNG                                                                 013/orders/ord3245.pdf
          Terminal in Lake Charles,
          Louisiana, to Free Trade
          Agreement Nations, FE Dkt.
          No. 12-183-LNG
139       Order Granting Long-Term       February 27, 2013     P00000125167- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                              P00000125172 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas to Canada, FE Dkt.                                     Fossil Energy      efault/files/programs/gasr
          No. 12-151-NG                                                                         egulation/authorizations/2
                                                                                                013/orders/ord3246.pdf
140       Order Granting Blanket           March 5, 2013       P00000125173- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                              P00000125185 Energy, Office of   gov/ng_regulation/sites/d
          Previously Imported Liquefied                                      Fossil Energy      efault/files/programs/gasr
          Natural Gas by Vessel, FE Dkt.                                                        egulation/authorizations/2
          No. 12-161-LNG                                                                        013/orders/ord3247.pdf
141       Order Granting Long-Term         March 7, 2013       P00000125186- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                         P00000125199 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                        Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the Lake                                                           egulation/authorizations/2
          Charles LNG Terminal to Free                                                          013/orders/ord3252.pdf
          Trade Agreement Nations, FE
          Dkt. No. 13-04-LNG
142       Order Granting Long-Term         March 7, 2013       P00000125200- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                         P00000125211 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                        Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the                                                                egulation/authorizations/2
          Proposed Gasfin LNG Export                                                            013/orders/ord3253.pdf
          Project in Cameron Parish,
          Louisiana, to Free Trade
          Agreement Nations, FE Dkt.
          No. 13-06-LNG




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143       Order Granting Long-Term         May 1, 2013        P00000125212- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                             P00000125215 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 12-178-NG                                                                   egulation/authorizations/2
                                                                                               013/orders/ord3274.pdf
144       Order Granting Long-Term         May 1, 2013        P00000125216- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                             P00000125219 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 12-179-NG                                                                   egulation/authorizations/2
                                                                                               013/orders/ord3275.pdf
145       Order Granting Long-Term         May 1, 2013        P00000125220- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                             P00000125223 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 12-180-NG                                                                   egulation/authorizations/2
                                                                                               013/orders/ord3276.pdf
146       Order Granting Long-Term         May 24, 2013       P00000125224- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125238 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the                                                               egulation/authorizations/2
          Proposed Main Pass Energy                                                            013/orders/ord3290.pdf
          Hub™ Deepwater Port 16
          Miles Offshore of Louisiana to
          Free Trade Agreement
          Nations, FE Dkt. No. 13-26-
          LNG
147       Order Granting Authorization July 11, 2013          P00000125239- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          to Export Liquefied Natural                         P00000125249 Energy, Office of   gov/ng_regulation/sites/d
          Gas by Vessel Pursuant to the                                     Fossil Energy      efault/files/programs/gasr
          Long-Term Contract with Total                                                        egulation/authorizations/2
          Gas & Power North America,                                                           013/orders/ord3306.pdf
          Inc. from the Sabine Pass LNG
          Terminal to Free Trade
          Agreement Nations, FE Dkt.
          No. 13-30-LNG




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148       Order Granting Authorization     July 12, 2013        P00000125250- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          to Export Liquefied Natural                           P00000125260 Energy, Office of   gov/ng_regulation/sites/d
          Gas by Vessel Pursuant to the                                       Fossil Energy      efault/files/programs/gasr
          Long-Term Contract with                                                                egulation/authorizations/2
          Centrica PLC from the Sabine                                                           013/orders/ord3307.pdf
          Pass LNG Terminal to Free
          Trade Agreement Nations, FE
          Dkt. No. 13-42-LNG
149       Order Granting Blanket           July 19, 2013        P00000125261- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                               P00000125273 Energy, Office of   gov/ng_regulation/sites/d
          Previously Imported Liquefied                                       Fossil Energy      efault/files/programs/gasr
          Natural Gas by Vessel, FE Dkt.                                                         egulation/authorizations/2
          No. 13-51-LNG                                                                          013/orders/ord3317.pdf
150       Order Granting Long-Term         September 27, 2013   P00000125274- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                          P00000125288 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                         Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the                                                                 egulation/authorizations/2
          Proposed Venture Global LNG                                                            013/orders/ord3345.pdf
          Project in Cameron Parish,
          Louisiana, to Free Trade
          Agreement Nations, FE Dkt.
          No. 13-69-LNG
151       Order Granting Long-Term       October 24, 2013       P00000125289- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                               P00000125292 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas to Mexico, FE Dkt.                                      Fossil Energy      efault/files/programs/gasr
          No. 13-120-NG                                                                          egulation/authorizations/2
                                                                                                 013/orders/ord3348.pdf
152       Order Granting Long-Term         November 6, 2013     P00000125293- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                          P00000125306 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                         Fossil Energy      efault/files/programs/gasr
          Gas in Approved ISO                                                                    egulation/authorizations/2
          Containers Loaded at the                                                               013/orders/ord3356.pdf
          Trussville, Alabama, LNG
          Facility and Exported Via
          Ocean-Going Vessel to Free
          Trade Agreement Nations, FE
          Dkt. No. 13-105-LNG



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153       Order Granting Blanket           November 7, 2013   P00000125307- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                             P00000125318 Energy, Office of   gov/ng_regulation/sites/d
          Previously Imported Liquefied                                     Fossil Energy      efault/files/programs/gasr
          Natural Gas by Vessel, FE Dkt.                                                       egulation/authorizations/2
          No. 13-97-LNG                                                                        013/orders/ord3359.pdf
154       Order Granting Long-Term      November 14, 2013     P00000125319- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125328 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas in ISO Containers Loaded                                                         egulation/authorizations/2
          at the Floridian Facility in                                                         013/orders/ord3360.pdf
          Marin County, Florida, and
          Exported via Ocean-Going
          Vessel to Free Trade
          Agreement Nations in Central
          America and the Caribbean, FE
          Dkt. No. 13-104-LNG
155       Order Granting Long-Term       November 26, 2013    P00000125329- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125342 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the Port of                                                       egulation/authorizations/2
          Brownsville, Texas, to Free                                                          013/orders/ord3364.pdf
          Trade Agreement Nations, FE
          Dkt. No. 13-115-LNG
156       Order Granting Long-Term       November 26, 2013    P00000125343- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125356 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the Port of                                                       egulation/authorizations/2
          Brownsville, Texas, to Free                                                          013/orders/ord3365.pdf
          Trade Agreement Nations, FE
          Dkt. No. 13-117-LNG




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                                                               Document       Document
157       Order Granting Blanket           December 12, 2013   P00000125357- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                              P00000125361 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas to                                           Fossil Energy      efault/files/programs/gasr
          Dominican Republic, El                                                                egulation/authorizations/2
          Salvador, Guatemala,                                                                  013/orders/ord3371.pdf
          Honduras, and Nicaragua in
          ISO Containers by Vessel, FE
          Dkt. No. 13-122-LNG
158       Order Granting Blanket           January 9, 2014     P00000125362- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                              P00000125365 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                         Fossil Energy      efault/files/programs/gasr
          Various International Sources                                                         egulation/authorizations/2
          by Vessel, FE Dkt. No. 13-148-                                                        014/orders/ord3379.pdf
          LNG
159       Order Granting Blanket        January 16, 2014       P00000125366- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                          P00000125369 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from And                                        Fossil Energy      efault/files/programs/gasr
          to Canada And Mexico, FE Dkt.                                                         egulation/authorizations/2
          No. 13-156-NG                                                                         014/orders/ord3380.pdf
160       Order Granting Blanket         January 16, 2014      P00000125370- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                          P00000125373 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from And                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 13-159-                                                        egulation/authorizations/2
          NG                                                                                    014/orders/ord3381.pdf
161       Order Granting Blanket           January 16, 2014    P00000125374- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                          P00000125377 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from And                                        Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 14-01-                                                         egulation/authorizations/2
          NG                                                                                    014/orders/ord3382.pdf
162       Order Granting Long-Term         January 22, 2014    P00000125378- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                         P00000125392 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                        Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the Sabine                                                         egulation/authorizations/2
          Pass LNG Terminal to Free                                                             014/orders/ord3384.pdf
          Trade Agreement Nations, FE
          Dkt. No. 13-121-LNG




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Number                                                       (s) of         and/or Author of Location                   Accessed Document     Response
                                                             Document       Document
163       Order Granting Blanket         January 22, 2014    P00000125393- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                            P00000125396 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas to Mexico, FE Dkt.                                   Fossil Energy      efault/files/programs/gasr
          No. 14-03-NG                                                                        egulation/authorizations/2
                                                                                              014/orders/ord3383.pdf
164       Order Granting Blanket          January 30, 2014   P00000125397- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125402 Energy, Office of   gov/ng_regulation/sites/d
          Export Liquefied Natural Gas                                     Fossil Energy      efault/files/programs/gasr
          from and to Canada and                                                              egulation/authorizations/2
          Mexico by Truck, Rail, Barge,                                                       014/orders/ord3378.pdf
          and Non-Barge Waterborne
          Vessels, FE Dkt. No. 13-152-
          LNG
165       Order Granting Blanket          January 30, 2014   P00000125403- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125406 Energy, Office of   gov/ng_regulation/sites/d
          Export Liquefied Natural Gas                                     Fossil Energy      efault/files/programs/gasr
          from And to Canada And                                                              egulation/authorizations/2
          Mexico by Truck, FE Dkt. No.                                                        014/orders/ord3386.pdf
          14-02-LNG
166       Order Granting Blanket        January 30, 2014     P00000125407- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125410 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from And                                      Fossil Energy      efault/files/programs/gasr
          to Canada And Mexico, FE Dkt.                                                       egulation/authorizations/2
          No. 14-07-NG                                                                        014/orders/ord3387.pdf
167       Order Granting Blanket         January 30, 2014    P00000125411- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                            P00000125414 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas to Mexico, FE Dkt.                                   Fossil Energy      efault/files/programs/gasr
          No. 14-10-NG                                                                        egulation/authorizations/2
                                                                                              014/orders/ord3388.pdf
168       Order Granting Blanket          February 6, 2014   P00000125415- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125418 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 14-08-                                                       egulation/authorizations/2
          NG                                                                                  014/orders/ord3389.pdf




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Number                                                        (s) of         and/or Author of Location                   Accessed Document     Response
                                                              Document       Document
169       Order Granting Blanket          February 6, 2014    P00000125419- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                             P00000125422 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 14-12-NG                                                                    egulation/authorizations/2
                                                                                               014/orders/ord3390.pdf
170       Order Granting Long-Term        February 20, 2014   P00000125423- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125437 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from a                                                                 egulation/authorizations/2
          Proposed Floating                                                                    014/orders/ord3393.pdf
          Liquefaction Project and
          Deepwater Port 30 Miles
          Offshore of Louisiana to Free
          Trade Agreement Nations, FE
          Dkt. No. 13-129-LNG
171       Order Granting Long-Term        February 20, 2014   P00000125438- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125450 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the                                                               egulation/authorizations/2
          Proposed Annova LNG                                                                  014/orders/ord3394.pdf
          Terminal in Brownsville,
          Texas, To Free Trade
          Agreement Nations, FE Dkt.
          No. 13-140-LNG
172       Order Granting Blanket          February 19, 2014   P00000125451- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                             P00000125459 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas by                                          Fossil Energy      efault/files/programs/gasr
          Vessel from the Kenai LNG                                                            egulation/authorizations/2
          Facility to Free Trade                                                               014/orders/ord3392.pdf
          Agreement Nations, FE Dkt.
          No. 13-154-LNG
173       Order Granting Blanket          February 20, 2014   P00000125460- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                             P00000125463 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 14-04-NG                                                                    egulation/authorizations/2
                                                                                               014/orders/ord3395.pdf




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                                                              Document       Document
174       Order Granting Blanket          February 20, 2014   P00000125464- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                             P00000125467 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 14-05-NG                                                                    egulation/authorizations/2
                                                                                               014/orders/ord3396.pdf
175       Order Granting Blanket          February 20, 2014   P00000125468- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                             P00000125471 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                        Fossil Energy      efault/files/programs/gasr
          Various International Sources                                                        egulation/authorizations/2
          by Vessel, FE Dkt. No. 14-06-                                                        014/orders/ord3397.pdf
          LNG
176       Order Granting Blanket          February 20, 2014   P00000125472- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                             P00000125476 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                        Fossil Energy      efault/files/programs/gasr
          Various International Sources                                                        egulation/authorizations/2
          by Vessel, and to Export                                                             014/orders/ord3398.pdf
          Liquefied Natural Gas to
          Mexico by Vessel, FE Dkt. No.
          14-09-LNG
177       Order Granting Blanket          February 20, 2014   P00000125477- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                         P00000125480 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Mexico, FE Dkt. No. 14-16-                                                        egulation/authorizations/2
          NG                                                                                   014/orders/ord3399.pdf
178       Order Granting Blanket          February 20, 2014   P00000125481- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                             P00000125484 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 14-18-NG                                                                    egulation/authorizations/2
                                                                                               014/orders/ord3400.pdf
179       Order Granting Blanket          February 27, 2014   P00000125485- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                             P00000125488 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                        Fossil Energy      efault/files/programs/gasr
          Various International Sources                                                        egulation/authorizations/2
          by Vessel, FE Dkt. No. 14-11-                                                        014/orders/ord3401.pdf
          NG




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Number                                                        (s) of         and/or Author of Location                   Accessed Document     Response
                                                              Document       Document
180       Order Granting Blanket          February 27, 2014   P00000125489- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                         P00000125492 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 14-14-                                                        egulation/authorizations/2
          NG                                                                                   014/orders/ord3402.pdf
181       Order Granting Blanket          February 27, 2014   P00000125493- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                         P00000125496 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada and to Export to                                                           egulation/authorizations/2
          Mexico, FE Dkt. No. 14-15-NG                                                         014/orders/ord3403.pdf
182       Order Granting Blanket          February 27, 2014   P00000125497- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                             P00000125500 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas to Canada and                                         Fossil Energy      efault/files/programs/gasr
          Mexico, FE Dkt. No. 14-17-NG                                                         egulation/authorizations/2
                                                                                               014/orders/ord3404.pdf
183       Order Granting Blanket          February 27, 2014   P00000125501- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                             P00000125504 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                        Fossil Energy      efault/files/programs/gasr
          Various International Sources                                                        egulation/authorizations/2
          by Vessel, FE Dkt. No. 14-20-                                                        014/orders/ord3405.pdf
          LNG
184       Order Granting Long-Term        March 5, 2014       P00000125505- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125518 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                       Fossil Energy      efault/files/programs/gasr
          Gas by Vessel from the                                                               egulation/authorizations/2
          Proposed Magnolia LNG                                                                014/orders/ord3406.pdf
          Terminal in Lake Charles,
          Louisiana, to Free Trade
          Agreement Nations, FE Dkt.
          No. 13-131-LNG
185       Order Granting Blanket          March 6, 2014       P00000125519- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                         P00000125522 Energy, Office of   gov/ng_regulation/sites/d
          Export Liquefied Natural Gas                                      Fossil Energy      efault/files/programs/gasr
          from and to Canada and                                                               egulation/authorizations/2
          Mexico by Truck, FE Dkt. No.                                                         014/orders/ord3407.pdf
          14-21-LNG




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                                                             Document       Document
186       Order Granting Blanket          March 6, 2014      P00000125523- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125526 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Mexico, FE Dkt. No. 14-22-                                                       egulation/authorizations/2
          NG                                                                                  014/orders/ord3408.pdf
187       Order Granting Blanket        March 13, 2014       P00000125527- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125530 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada and Mexico, FE Dkt.                                                       egulation/authorizations/2
          No. 14-23-LNG                                                                       014/orders/ord3409.pdf
188       Order Granting Blanket          March 13, 2014     P00000125531- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                            P00000125534 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                       Fossil Energy      efault/files/programs/gasr
          Various International Sources                                                       egulation/authorizations/2
          by Vessel, FE Dkt. No. 14-24-                                                       014/orders/ord3410.pdf
          LNG
189       Order Granting Blanket          March 13, 2014     P00000125535- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125538 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 14-25-                                                       egulation/authorizations/2
          NG                                                                                  014/orders/ord3411.pdf
190       Order Granting Long-Term        March 18, 2014     P00000125539- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Multi-Contract Authorization                       P00000125552 Energy, Office of   gov/ng_regulation/sites/d
          to Import Natural Gas from                                       Fossil Energy      efault/files/programs/gasr
          Canada to the Proposed                                                              egulation/authorizations/2
          Jordan Cove LNG Terminal in                                                         014/orders/ord3412.pdf
          the Port of Coos Bay, Oregon,
          FE Dkt. No. 13-141-LNG
191       Order Granting Blanket          April 10, 2014     P00000125553- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125557 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada and Mexico and to                                                         egulation/authorizations/2
          Import Liquefied Natural Gas                                                        014/orders/ord3415.pdf
          from Various International
          Sources by Vessel, and
          Vacating Prior Authorization,
          FE Dkt. No. 14-26-NG



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                                                             Document       Document
192       Order Granting Blanket          April 10, 2014     P00000125558- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                            P00000125561 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                       Fossil Energy      efault/files/programs/gasr
          Various International Sources                                                       egulation/authorizations/2
          by Vessel, FE Dkt. No. 14-27-                                                       014/orders/ord3416.pdf
          LNG
193       Order Granting Blanket         April 10, 2014      P00000125562- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                            P00000125565 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas to Mexico, FE Dkt.                                   Fossil Energy      efault/files/programs/gasr
          No. 14-33-NG                                                                        egulation/authorizations/2
                                                                                              014/orders/ord3417.pdf
194       Order Granting Blanket          April 10, 2014     P00000125566- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                            P00000125569 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas from                                       Fossil Energy      efault/files/programs/gasr
          Various International Sources                                                       egulation/authorizations/2
          by Vessel, FE Dkt. No. 14-30-                                                       014/orders/ord3419.pdf
          LNG
195       Order Granting Blanket          April 25, 2014     P00000125570- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                            P00000125574 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas to                                         Fossil Energy      efault/files/programs/gasr
          Canada and Mexico in ISO                                                            egulation/authorizations/2
          Containers Transported by                                                           014/orders/ord3414.pdf
          Vessel, and to Import
          Liquefied Natural Gas from
          Various International Sources
          in ISO Containers Transported
          by Vessel, FE Dkt. No. 14-28-
          LNG
196       Order Granting Blanket          May 1, 2014        P00000125575- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125578 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 14-32-                                                       egulation/authorizations/2
          NG                                                                                  014/orders/ord3420.pdf




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Number                                                       (s) of         and/or Author of Location                   Accessed Document     Response
                                                             Document       Document
197       Order Granting Blanket          May 1, 2014        P00000125579- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125582 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 14-34-                                                       egulation/authorizations/2
          NG                                                                                  014/orders/ord3421.pdf
198       Order Granting Blanket          May 1, 2014        P00000125583- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                            P00000125586 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada and                                      Fossil Energy      efault/files/programs/gasr
          Vacating Prior Authorization,                                                       egulation/authorizations/2
          FE Dkt. No. 14-36-NG                                                                014/orders/ord3422.pdf
199       Order Granting Blanket          May 1, 2014        P00000125587- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                            P00000125590 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                      Fossil Energy      efault/files/programs/gasr
          Dkt. No. 14-37-NG                                                                   egulation/authorizations/2
                                                                                              014/orders/ord3423.pdf
200       Order Granting Blanket         May 1, 2014         P00000125591- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125594 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, and to Export                                                            egulation/authorizations/2
          Natural Gas to Mexico, FE Dkt.                                                      014/orders/ord3424.pdf
          No. 14-38-NG
201       Order Granting Blanket          May 1, 2014        P00000125595- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125598 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 14-39-                                                       egulation/authorizations/2
          NG                                                                                  014/orders/ord3425.pdf
202       Order Granting Blanket          May 1, 2014        P00000125599- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125602 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 14-47-                                                       egulation/authorizations/2
          NG                                                                                  014/orders/ord3428.pdf
203       Order Granting Blanket          May 1, 2014        P00000125603- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                        P00000125606 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 14-40-                                                       egulation/authorizations/2
          NG                                                                                  014/orders/ord3426.pdf




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Number                                                        (s) of         and/or Author of Location                   Accessed Document     Response
                                                              Document       Document
204       Order Granting Blanket           May 1, 2014        P00000125607- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import                             P00000125610 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 14-41-NG                                                                    egulation/authorizations/2
                                                                                               014/orders/ord3427.pdf
205       Order Granting Blanket           May 8, 2014        P00000125611- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                         P00000125614 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 14-42-                                                        egulation/authorizations/2
          NG                                                                                   014/orders/ord3429.pdf
206       Order Granting Blanket         May 8, 2014          P00000125615- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Export                             P00000125618 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas to Mexico, FE Dkt.                                    Fossil Energy      efault/files/programs/gasr
          No. 14-43-NG                                                                         egulation/authorizations/2
                                                                                               014/orders/ord3430.pdf
207       Order Granting Blanket           May 8, 2014        P00000125619- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                         P00000125622 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 14-44-                                                        egulation/authorizations/2
          NG                                                                                   014/orders/ord3431.pdf
208       Order Granting Blanket           May 8, 2014        P00000125623- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                         P00000125626 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 14-45-                                                        egulation/authorizations/2
          NG                                                                                   014/orders/ord3432.pdf
209       Order Granting Blanket           May 8, 2014        P00000125627- US Dept. of        https://fossil.energy.     September 14, 2018   No objection
          Authorization to Import and                         P00000125631 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada and Mexico, to                                                             egulation/authorizations/2
          Export Liquefied Natural Gas                                                         014/orders/ord3433.pdf
          to Canada and Mexico by
          Vessel and Truck, and to
          Import Liquefied Natural Gas
          from Various International
          Sources by Vessel, FE Dkt. No.
          14-46-NG




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Number                                                          (s) of         and/or Author of Location                      Accessed Document    Response
                                                                Document       Document
210       Order Granting Blanket        May 8, 2014             P00000125632- US Dept. of        https://fossil.energy.     September 14, 2018     No objection
          Authorization to Import and                           P00000125635 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                         Fossil Energy      efault/files/programs/gasr
          to Canada and Mexico, FE Dkt.                                                          egulation/authorizations/2
          No. 14-48-NG                                                                           014/orders/ord3434.pdf
211       Order Granting Long-Term           June 11, 2014      P00000125636- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                          P00000125651 Energy, Office of   gov/sites/prod/files/2014/
          to Export Liquefied Natural                                         Fossil Energy      06/f16/ord3443.pdf
          Gas by Vessel from the
          Proposed Texas LNG Terminal
          in Brownsville, Texas, to Free
          Trade Agreement Nations, FE
          Dkt. No. 13-160-LNG
212       Order Granting Long-Term           June 13, 2014      P00000125652- US Dept. of        https://fossil.energy.     September 14, 2018     No objection
          Authorization to Export                               P00000125663 Energy, Office of   gov/ng_regulation/sites/d
          Compressed Natural Gas by                                           Fossil Energy      efault/files/programs/gasr
          Vessel from a Proposed CNG                                                             egulation/authorizations/2
          Compression and Loading                                                                014/orders/ord3447.pdf
          Facility at the Port of Palm
          Beach, Florida, to Free Trade
          Agreement Nations, FE Dkt.
          No. 13-157-CNG
213       Order Granting Blanket             April 23, 2015     P00000125664- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Export                               P00000125675 Energy, Office of   gov/sites/prod/files/2015/
          Previously Imported Liquefied                                       Fossil Energy      08/f25/ord3628.pdf
          Natural Gas by Vessel, FE Dkt.
          No. 15-13-LNG
214       Order Granting Long-Term           May 29, 2015       P00000125676- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                          P00000125690 Energy, Office of   gov/sites/prod/files/2015/
          to Export Liquefied Natural                                         Fossil Energy      08/f25/ord3656.pdf
          Gas in ISO Containers Loaded
          at the Proposed Titusville
          Facility in Titusville, Florida,
          and Exported by Vessel to
          Free Trade Agreement
          Nations, FE Dkt. No. 15-19-
          LNG



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Number                                                       (s) of         and/or Author of Location                      Accessed Document    Response
                                                             Document       Document
215       Order Granting Long-Term        June 17, 2015      P00000125691- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                       P00000125708 Energy, Office of   gov/sites/prod/files/2015/
          to Export Liquefied Natural                                      Fossil Energy      06/f23/ord3662.pdf
          Gas by Vessel from the
          Proposed Venture Global
          Calcasieu Pass LNG Project in
          Cameron Parish, Louisiana, to
          Free Trade Agreement
          Nations, FE Dkt. No. 15-25-
          LNG
216       Order Granting Blanket          June 17, 2015      P00000125709- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Export                            P00000125715 Energy, Office of   gov/sites/prod/files/2015/
          Liquefied Natural Gas in ISO                                     Fossil Energy      06/f23/ord3661.pdf
          Containers Loaded on Vessels
          and in LNG Vessels to Free
          Trade Agreement Nations, FE
          Dkt. No. 15-39-LNG
217       Order Granting Long-Term        July 10, 2015      P00000125716- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                       P00000125731 Energy, Office of   gov/sites/prod/files/2015/
          to Export Liquefied Natural                                      Fossil Energy      07/f24/ord3680.pdf
          Gas by Vessel from the
          Cameron LNG Terminal in
          Cameron and Calcasieu
          Parishes, Louisiana, to Free
          Trade Agreement Nations, FE
          Dkt. No. 15-36-LNG
218       Order Granting Long-Term        July 17, 2015      P00000125732- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                       P00000125748 Energy, Office of   gov/sites/prod/files/2015/
          to Export Natural Gas to                                         Fossil Energy      07/f24/ord3681.pdf
          Canada and to Other Free
          Trade Agreement Nations, FE
          Dkt. No. 15-33-LNG




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Number                                                          (s) of         and/or Author of Location                      Accessed Document    Response
                                                                Document       Document
219       Order Granting Long-Term         July 17, 2015        P00000125749- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                          P00000125762 Energy, Office of   gov/sites/prod/files/2015/
          to Export Liquefied Natural                                         Fossil Energy      07/f24/ord3682.pdf
          Gas by Vessel from the
          Proposed G2 LNG Terminal in
          Cameron Parish, Louisiana, to
          Free Trade Agreement
          Nations, FE Dkt. No. 15-44-
          LNG
220       Order Granting Long-Term,        July 31, 2015        P00000125763- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                          P00000125778 Energy, Office of   gov/sites/prod/files/2015/
          to Export Liquefied Natural                                         Fossil Energy      08/f25/ord3691.pdf
          Gas in ISO Containers Loaded
          at the Proposed Floridian
          Facility in Martin County,
          Florida, and Exported by
          Vessel to Free Trade
          Agreement Nations, FE Dkt.
          No. 15-38-LNG
221       Order Granting Long-Term         August 20, 2015      P00000125779- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                          P00000125791 Energy, Office of   gov/sites/prod/files/2015/
          to Export Liquefied Natural                                         Fossil Energy      08/f26/ord3698.pdf
          Gas by Vessel from the
          Proposed Port Arthur LNG
          Project in Port Arthur, Texas,
          to Free Trade Agreement
          Nations, FE Dkt. No. 15-53-
          LNG
222       Order Granting Long-Term,        September 24, 2015   P00000125792- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                          P00000125807 Energy, Office of   gov/sites/prod/files/2015/
          to Export Liquefied Natural                                         Fossil Energy      09/f26/ord3716.pdf
          Gas by Vessel from the
          Proposed LNG Terminal at the
          Port of Brownsville in
          Brownsville, Texas, to Free
          Trade Agreement Nations, FE
          Dkt. No. 15-62-LNG




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223       Order Granting Long-Term       November 12, 2015     P00000125808- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Import and                          P00000125812 Energy, Office of   gov/sites/prod/files/2015/
          Export Natural Gas from and                                        Fossil Energy      11/f27/ord3740.pdf
          to Canada, FE Dkt. No. 15-139-
          NG
224       Order Granting Long-Term       November 12, 2015     P00000125813- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Import and                          P00000125817 Energy, Office of   gov/sites/prod/files/2015/
          Export Natural Gas from and                                        Fossil Energy      11/f27/ord3741_1.pdf
          to Canada, FE Dkt. No. 15-140-
          NG
225       Order Granting Long-Term       November 12, 2015     P00000125818- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Import and                          P00000125822 Energy, Office of   gov/sites/prod/files/2015/
          Export Natural Gas from and                                        Fossil Energy      11/f27/ord3742.pdf
          to Canada, FE Dkt. No. 15-141-
          NG
226       Order Granting Long-Term       November 12, 2015     P00000125823- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Import and                          P00000125827 Energy, Office of   gov/sites/prod/files/2015/
          Export Natural Gas from and                                        Fossil Energy      11/f27/ord3743.pdf
          to Canada, FE Dkt. No. 15-142-
          NG
227       Order Granting Blanket           December 16, 2015   P00000125828- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Export                              P00000125839 Energy, Office of   gov/sites/prod/files/2015/
          Previously Imported Liquefied                                      Fossil Energy      12/f27/ord3754.pdf
          Natural Gas by Vessel, FE Dkt.
          No. 15-130-LNG
228       Order Granting Blanket           January 13, 2016    P00000125840- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Export                              P00000125855 Energy, Office of   gov/sites/prod/files/2016/
          Liquefied Natural Gas by                                           Fossil Energy      01/f28/ord3767.pdf
          Vessel from the Sabine Pass
          LNG Terminal Located in
          Cameron Parish, Louisiana, FE
          Dkt. No. 15-171-LNG




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Number                                                         (s) of         and/or Author of Location                      Accessed Document    Response
                                                               Document       Document
229       Order Granting Long-Term,         April 13, 2016     P00000125856- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                         P00000125869 Energy, Office of   gov/sites/prod/files/2016/
          to Export Liquefied Natural                                        Fossil Energy      04/f30/ord3809.pdf
          Gas in ISO Containers or in
          Bulk Loaded at the Stabilis
          LNG Eagle Ford, Llc Facility in
          George West, Texas, and
          Exported by Vessel to Free
          Trade Agreement Nations, FE
          Dkt. No. 15-168-LNG
230       Order Granting Long-Term          May 12, 2016       P00000125870- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Import                              P00000125873 Energy, Office of   gov/sites/prod/files/2016/
          Liquefied Natural Gas from                                         Fossil Energy      05/f31/ord3819.pdf
          Canada by Truck, FE Dkt. No.
          16-50-LNG
231       Order Granting Long-Term          May 16, 2016       P00000125874- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Import                              P00000125877 Energy, Office of   gov/sites/prod/files/2016/
          Liquefied Natural Gas from                                         Fossil Energy      05/f31/ord3824.pdf
          Canada by Truck, FE Dkt. No.
          16-49-LNG
232       Order Granting Blanket            May 26, 2016       P00000125878- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Export                              P00000125888 Energy, Office of   gov/sites/prod/files/2016/
          Previously Imported Liquefied                                      Fossil Energy      05/f32/ord3825.pdf
          Natural Gas by Vessel, FE Dkt.
          No. 16-29-LNG
233       Order Granting Blanket        June 13, 2016          P00000125889- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Export                              P00000125894 Energy, Office of   gov/sites/prod/files/2016/
          Liquefied Natural Gas to Free                                      Fossil Energy      06/f32/ord3822.pdf
          Trade Agreement Countries by
          Truck, Rail, Barge, and Non-
          Barge Waterborne Vessels, FE
          Dkt. No. 15-169-LNG
234       Order Granting Long-Term       May 31, 2016          P00000125895- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Export                              P00000125899 Energy, Office of   gov/sites/prod/files/2017/
          Natural Gas to Mexico, FE Dkt.                                     Fossil Energy      04/f34/ord3827.pdf
          No. 16-55-NG




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                                                              Document       Document
235       Order Granting Long-Term,        July 21, 2016      P00000125900- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125914 Energy, Office of   gov/sites/prod/files/2016/
          to Export Liquefied Natural                                       Fossil Energy      07/f33/ord3867.pdf
          Gas by Vessel from, or in ISO
          Containers Loaded at, the
          Proposed Eagle LNG Facility in
          Jacksonville, Florida, to Free
          Trade Agreement Nations, FE
          Dkt. No. 16-15-LNG
236       Order Granting Long-Term,        July 21, 2016      P00000125915- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125928 Energy, Office of   gov/sites/prod/files/2016/
          to Export Liquefied Natural                                       Fossil Energy      07/f33/ord3866.pdf
          Gas by Vessel from the
          Proposed Plaquemines LNG
          Terminal in Plaquemines
          Parish, Louisiana, to Free
          Trade Agreement Nations, FE
          Dkt. No. 16-28-LNG
237       Order Granting Long-Term,        August 17, 2016    P00000125929- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                        P00000125943 Energy, Office of   gov/sites/prod/files/2016/
          to Export Liquefied Natural                                       Fossil Energy      08/f33/ord3869.pdf
          Gas by Vessel from the
          Proposed Rio Grande LNG
          Terminal in Brownsville,
          Texas, to Free Trade
          Agreement Nations, FE Dkt.
          No. 15-190-LNG
238       Order Granting Long-Term       October 31, 2016     P00000125944- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Export                             P00000125947 Energy, Office of   gov/sites/prod/files/2016/
          Natural Gas to Canada, FE Dkt.                                    Fossil Energy      11/f34/ord3912.pdf
          No. 16-118-NG




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                                                              Document       Document
239       Order Granting Long-Term,       February 28, 2017   P00000125995- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                        P00000126008 Energy, Office of   gov/sites/prod/files/2017/
          to Export Liquefied Natural                                       Fossil Energy      03/f34/ord3968.pdf
          Gas by Vessel from the
          Proposed Driftwood LNG
          Facility in Calcasieu Parish,
          Louisiana, to Free Trade
          Agreement Nations, FE Dkt.
          No. 16-144-LNG
240       Order Granting Long-Term        January 28, 1998    P00000126009- US Dept. of        https://fossil.energy.     September 12, 2018     No objection
          Authorization to Import                             P00000126011 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 98-05-NG                                                                    egulation/authorizations/1
                                                                                               998/orders/ord1354.pdf
241       Order Granting Long-Term        February 10, 1998   P00000126012- US Dept. of        https://fossil.energy.     September 12, 2018     No objection
          Authorization to Import                             P00000126014 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 98-08-NG                                                                    egulation/authorizations/1
                                                                                               998/orders/ord1361.pdf
242       Order Granting Blanket          December 28, 1999   P00000126015- US Dept. of        https://fossil.energy.     September 12, 2018     No objection
          Authorization to Import                             P00000126017 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 98-102-NG                                                                   egulation/authorizations/1
                                                                                               998/orders/ord1449.pdf
243       Order Granting Long-Term        March 6, 1998       P00000126018- US Dept. of        https://fossil.energy.     September 12, 2018     No objection
          Authorization to Import                             P00000126020 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 98-12-NG                                                                    egulation/authorizations/1
                                                                                               998/orders/ord1367.pdf
244       Order Granting Long-Term        April 7, 1998       P00000126021- US Dept. of        https://fossil.energy.     September 12, 2018     No objection
          Authorization to Import                             P00000126024 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 98-19-NG                                                                    egulation/authorizations/1
                                                                                               998/orders/ord1373.pdf




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Number                                                        (s) of         and/or Author of Location                   Accessed Document     Response
                                                              Document       Document
245       Order Granting Long-Term        May 8, 1998         P00000126025- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                             P00000126027 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 98-20-NG                                                                    egulation/authorizations/1
                                                                                               998/orders/ord1382.pdf
246       Order Granting Long-Term        May 20, 1998        P00000126028- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                             P00000126030 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 98-30-NG                                                                    egulation/authorizations/1
                                                                                               998/orders/ord1385.pdf
247       Order Granting Long-Term        October 30, 1998    P00000126031- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                             P00000126033 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 98-76-NG                                                                    egulation/authorizations/1
                                                                                               998/orders/ord1430.pdf
248       Order Granting Long-Term      November 9, 1998      P00000126034- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Export                             P00000126037 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas to Canada for                                         Fossil Energy      efault/files/programs/gasr
          Subsequent Re-Import, FE Dkt.                                                        egulation/authorizations/1
          No. 98-83-NG                                                                         998/orders/ord1434.pdf
249       Order Granting Long-Term        November 2, 1998    P00000126038- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                             P00000126040 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 98-85-NG                                                                    egulation/authorizations/1
                                                                                               998/orders/ord1432.pdf
250       Order Granting Blanket          November 12, 1998   P00000126041- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                         P00000126043 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas, Including                                     Fossil Energy      efault/files/programs/gasr
          Liquefied Natural Gas from                                                           egulation/authorizations/1
          and to Canada and Mexico, FE                                                         998/orders/ord1435.pdf
          Dkt. No. 98-87-NG
251       Order Granting Blanket        December 17, 1998     P00000126044- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                         P00000126046 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                       Fossil Energy      efault/files/programs/gasr
          to Canada and Mexico, FE Dkt.                                                        egulation/authorizations/1
          No. 98-92-NG                                                                         998/orders/ord1444.pdf




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Exhibit   Title of Document             Date of Document    Bates Number   Agency Source    Website URL/Document        Date Plaintiffs      Defendants'
Number                                                      (s) of         and/or Author of Location                    Accessed Document    Response
                                                            Document       Document
252       Order Granting Long-Term      December 17, 1998   P00000126047- US Dept. of        https://fossil.energy.     Sep 12, 2018         No objection
          Authorization to Import                           P00000126049 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                     Fossil Energy      efault/files/programs/gasr
          Dkt. No. 98-98-NG                                                                  egulation/authorizations/1
                                                                                             998/orders/ord1445.pdf
253       Order Amending Long-Term      July 11, 1997       P00000126050- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                           P00000126052 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                     Fossil Energy      efault/files/programs/gasr
          Dkt. No. 96-26-NG, A                                                               egulation/authorizations/1
                                                                                             997/orders/ord1190a.pdf
254       Order Granting Long-Term      November 5, 1997    P00000126053- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                           P00000126055 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                     Fossil Energy      efault/files/programs/gasr
          Dkt. No. 97-81-NG                                                                  egulation/authorizations/1
                                                                                             997/orders/ord1327.pdf
255       Order Granting Long-Term      November 6, 1997    P00000126056- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                           P00000126058 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                     Fossil Energy      efault/files/programs/gasr
          Dkt. No. 97-87-NG                                                                  egulation/authorizations/1
                                                                                             997/orders/ord1329.pdf
256       Order Granting Long-Term      October 31, 1997    P00000126059- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                           P00000126061 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                     Fossil Energy      efault/files/programs/gasr
          Dkt. No. 97-88-NG                                                                  egulation/authorizations/1
                                                                                             997/orders/ord1326.pdf
257       Order Granting Long-Term      November 6, 1997    P00000126062- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                           P00000126064 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                     Fossil Energy      efault/files/programs/gasr
          Dkt. No. 97-89-NG                                                                  egulation/authorizations/1
                                                                                             997/orders/ord1330.pdf




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Number                                                        (s) of         and/or Author of Location                      Accessed Document    Response
                                                              Document       Document
258       Order Granting Blanket         April 18, 2017       P00000126065- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Export                             P00000126070 Energy, Office of   gov/sites/prod/files/2017/
          Liquefied Natural Gas (LNG) in                                    Fossil Energy      05/f34/ord4019.pdf
          ISO Containers Loaded at a
          Proposed LNG Plant in
          Southern Alabama and
          Exported by Barge or Vessel to
          Free Trade Agreement
          Countries in the Caribbean
          and Latin America, FE Dkt. No.
          16-188-LNG
259       Order Granting Blanket           June 27, 2017      P00000126071- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Export                             P00000126082 Energy, Office of   gov/sites/prod/files/2017/
          Previously Imported Liquefied                                     Fossil Energy      06/f35/ord4054.pdf
          Natural Gas by Vessel, FE Dkt.
          No. 17-23-LNG
260       Order Granting Long-Term,        March 11, 2018     P00000126083- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                        P00000126096 Energy, Office of   gov/sites/prod/files/2018/
          to Export Liquefied Natural                                       Fossil Energy      03/f49/ord4162.pdf
          Gas by Vessel from the
          Proposed Fourchon LNG
          Facility in Lafourche Parish,
          Louisiana, to Free Trade
          Agreement Nations, FE Dkt.
          No. 17-105-LNG
261       Order Granting Long-Term,        June 13, 2018      P00000126097- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                        P00000126111 Energy, Office of   gov/sites/prod/files/2018/
          to Export Liquefied Natural                                       Fossil Energy      06/f53/ord4200.pdf
          Gas by Vessel from the
          Proposed Galveston Bay LNG
          Project to be Located in Texas
          City, Texas, to Free Trade
          Agreement Nations, FE Dkt.
          No. 17-167-LNG




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Number                                                        (s) of         and/or Author of Location                      Accessed Document    Response
                                                              Document       Document
262       Order Granting Long-Term,        June 25, 2018      P00000126112- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Multi-Contract Authorization                        P00000126124 Energy, Office of   gov/sites/prod/files/2018/
          to Export Liquefied Natural                                       Fossil Energy      06/f53/ord4202.pdf
          Gas in ISO Containers or in
          Bulk Loaded at the Hr Nu Blu
          Energy, Llc Liquefaction
          Facility in Port Allen,
          Louisiana, and Exported by
          Vessel to Free Trade
          Agreement Nations, FE Dkt.
          No. 18-27-LNG
263       Order Granting Long-Term       August 8, 2018       P00000126125- US Dept. of        https://www.energy.          September 14, 2018   No objection
          Authorization to Export                             P00000126129 Energy, Office of   gov/sites/prod/files/2018/
          Natural Gas to Mexico, FE Dkt.                                    Fossil Energy      08/f54/ord4227.pdf
          No. 18-87-NG
264       Order Granting Long-Term         March 8, 2000      P00000126130- US Dept. of        https://fossil.energy.     September 12, 2018     No objection
          Authorization to Import                             P00000126134 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 00-10-NG                                                                    egulation/authorizations/2
                                                                                               000/orders/ord1573.pdf
265       Order Granting Long-Term         June 25, 2001      P00000126135- US Dept. of        https://fossil.energy.     September 12, 2018     No objection
          Authorization to Import                             P00000126139 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 01-28-NG                                                                    egulation/authorizations/2
                                                                                               001/orders/ord1694.pdf
266       Order Granting Long-Term         August 10, 2001    P00000126140- US Dept. of        https://fossil.energy.     September 12, 2018     No objection
          Authorization to Import                             P00000126143 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 01-38-NG                                                                    egulation/authorizations/2
                                                                                               001/orders/ord1703.pdf
267       Order Granting Long-Term         November 7, 1995   P00000126158- US Dept. of        https://fossil.energy.     September 10, 2018     No objection
          Authorization to Import                             P00000126163 Energy, Office of   gov/ng_regulation/sites/d
          Liquefied Natural Gas, FE Dkt.                                    Fossil Energy      efault/files/programs/gasr
          No. 95-100-LNG                                                                       egulation/authorizations/1
                                                                                               995/orders/ord1115.pdf




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Number                                                       (s) of         and/or Author of Location                   Accessed Document     Response
                                                             Document       Document
268       Order Granting Long-Term      December 20, 1995    P00000126164- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                            P00000126170 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                      Fossil Energy      efault/files/programs/gasr
          Dkt. No. 95-109-NG                                                                  egulation/authorizations/1
                                                                                              995/orders/ord1135.pdf
269       Order Granting Long-Term      January 2, 1996      P00000126171- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                            P00000126175 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                      Fossil Energy      efault/files/programs/gasr
          Dkt. No. 95-111-NG                                                                  egulation/authorizations/1
                                                                                              996/orders/ord1139.pdf
270       Order Granting Long-Term      June 30, 1995        P00000126176- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                            P00000126181 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                      Fossil Energy      efault/files/programs/gasr
          Dkt. No. 95-44-NG                                                                   egulation/authorizations/1
                                                                                              995/orders/ord1068.pdf
271       Order Granting Long-Term      September 28, 1995   P00000126182- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                            P00000126188 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                      Fossil Energy      efault/files/programs/gasr
          Dkt. No. 95-64-NG                                                                   egulation/authorizations/1
                                                                                              995/orders/ord1088.pdf
272       Order Granting Long-Term      September 28, 1995   P00000126189- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                            P00000126195 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                      Fossil Energy      efault/files/programs/gasr
          Dkt. No. 95-65-NG                                                                   egulation/authorizations/1
                                                                                              995/orders/ord1089.pdf
273       Order Granting Long-Term      March 27, 1996       P00000126196- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                            P00000126201 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                      Fossil Energy      efault/files/programs/gasr
          Dkt. No. 96-02-NG                                                                   egulation/authorizations/1
                                                                                              996/orders/ord1151.pdf
274       Order Granting Long-Term      March 27, 1996       P00000126202- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                            P00000126207 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                      Fossil Energy      efault/files/programs/gasr
          Dkt. No. 96-03-NG                                                                   egulation/authorizations/1
                                                                                              996/orders/ord1152.pdf




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Number                                                        (s) of         and/or Author of Location                   Accessed Document     Response
                                                              Document       Document
275       Order Granting Long-Term       March 29, 1996       P00000126208- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                             P00000126213 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 96-10-NG                                                                    egulation/authorizations/1
                                                                                               996/orders/ord1156.pdf
276       Order Granting Long-Term       May 16, 1996         P00000126214- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                             P00000126223 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada and                                       Fossil Energy      efault/files/programs/gasr
          Amending Authorization, FE                                                           egulation/authorizations/1
          Dkt. No. 96-22-NG                                                                    996/orders/ord1165.pdf
277       Order Amending Long-Term       July 26, 1996        P00000126224- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          and Blanket Authorization to                        P00000126233 Energy, Office of   gov/ng_regulation/sites/d
          Import Natural Gas from                                           Fossil Energy      efault/files/programs/gasr
          Canada, FE Dkt. No. 96-26-NG                                                         egulation/authorizations/1
                                                                                               996/orders/ord1190.pdf
278       Order Granting Long-Term       June 25, 1996        P00000126234- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                             P00000126242 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 96-31-NG                                                                    egulation/authorizations/1
                                                                                               996/orders/ord1178.pdf
279       Order Granting Long-Term       June 26, 1996        P00000126243- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                             P00000126252 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 96-39-NG                                                                    egulation/authorizations/1
                                                                                               996/orders/ord1182.pdf
280       Order Granting Long-Term       September 18, 1996   P00000126253- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                             P00000126263 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 96-50-NG                                                                    egulation/authorizations/1
                                                                                               996/orders/ord1201.pdf
281       Order Granting Long-Term       September 24, 1996   P00000126264- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                             P00000126273 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 96-52-NG                                                                    egulation/authorizations/1
                                                                                               996/orders/ord1202.pdf




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Number                                                        (s) of         and/or Author of Location                   Accessed Document     Response
                                                              Document       Document
282       Order Granting Long-Term       September 11, 1996   P00000126274- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                             P00000126284 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 96-54-NG                                                                    egulation/authorizations/1
                                                                                               996/orders/ord1195.pdf
283       Order Granting Long-Term       September 16, 1996   P00000126285- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                             P00000126290 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 96-60-NG                                                                    egulation/authorizations/1
                                                                                               996/orders/ord1197.pdf
284       Order Granting Long-Term       September 16, 1996   P00000126291- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                             P00000126297 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 96-61-NG                                                                    egulation/authorizations/1
                                                                                               996/orders/ord1198.pdf
285       Order Granting Long-Term       October 16, 1996     P00000126298- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                             P00000126302 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 96-65-NG                                                                    egulation/authorizations/1
                                                                                               996/orders/ord1206.pdf
286       Order Granting Long-Term       October 31, 1996     P00000126303- US Dept. of        https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                             P00000126308 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 96-73-NG                                                                    egulation/authorizations/1
                                                                                               996/orders/ord1220.pdf
287       Order Granting Long-Term       March 18, 1999       P00000126309- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import                             P00000126313 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                       Fossil Energy      efault/files/programs/gasr
          Dkt. No. 99-19-NG                                                                    egulation/authorizations/1
                                                                                               999/orders/ord1470.pdf
288       Order Granting Authorization   April 6, 1999        P00000126314- US Dept. of        https://fossil.energy.     September 12, 2018   No objection
          to Import Natural Gas from                          P00000126317 Energy, Office of   gov/ng_regulation/sites/d
          Canada, FE Dkt. No. 99-22-NG                                      Fossil Energy      efault/files/programs/gasr
                                                                                               egulation/authorizations/1
                                                                                               999/orders/ord1474.pdf




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Number                                                       (s) of         and/or Author of Location                       Accessed Document    Response
                                                             Document       Document
289       Order Granting Long-Term       May 5, 1999         P00000126318- US Dept. of        https://fossil.energy.     September 12, 2018      No objection
          Authorization to Import                            P00000126321 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                      Fossil Energy      efault/files/programs/gasr
          Dkt. No. 99-26-NG                                                                   egulation/authorizations/1
                                                                                              999/orders/ord1479.pdf
290       Order Granting Long-Term       May 20, 1999        P00000126322- US Dept. of        https://fossil.energy.     September 12, 2018      No objection
          Authorization to Import                            P00000126325 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                      Fossil Energy      efault/files/programs/gasr
          Dkt. No. 99-27-NG                                                                   egulation/authorizations/1
                                                                                              999/orders/ord1484.pdf
291       Order Granting Long-Term       November 23, 1999   P00000126326- US Dept. of        https://fossil.energy.     September 12, 2018      No objection
          Authorization to Import                            P00000126332 Energy, Office of   gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                      Fossil Energy      efault/files/programs/gasr
          Dkt. No. 99-92-NG                                                                   egulation/authorizations/1
                                                                                              999/orders/ord1543.pdf
292       United States Climate Action   2014                P00000126335- U.S. Dept. of      https://unfccc.               September 24, 2018   No objection
          Report 2014                                        P00000126644 State               int/files/national_reports/
                                                                                              annex_i_natcom/submitte
                                                                                              d_natcom/application/pdf
                                                                                              /2014_u.s.
                                                                                              _climate_action_report[1]
                                                                                              rev.pdf
293       Message on Natural Beauty      February 8, 1965    P00000126645- President Lyndon The Lyndon Baines               December 18, 2016    No position
                                                             P00000126660 B. Johnson        Johnson Presidential
                                                                                            Library
294       Management of Small Docks      May 2005            P00000126661- NOAA               Retrieved from noaa.gov,  July 20, 2017            Objection -
          and Piers Impacts to                               P00000126666                     document no longer                                 Inadequate
          Navigation and Public Access                                                        available on NOAA website                          foundation
295       The Federal Role in Weather    December 1975       P00000126667- White House        Gerald R. Ford Presidential   April 20, 2017       No position
          Modification                                       P00000126708 Domestic            Library
                                                                           Council,
                                                                           Environmental
                                                                           Resources
                                                                           Committee,
                                                                           Subcommittee
                                                                           on Climate
                                                                           Change



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Number                                                         (s) of         and/or Author of Location                    Accessed Document     Response
                                                               Document       Document
296       Water, Climate Change, and      June 2010            P00000126709- USDA, Forest      https://www.fs.fed.     September 25, 2018        No objection
          Forests: Watershed                                   P00000126788 Service            us/pnw/pubs/pnw_gtr812.
          Stewardship for a Changing                                                           pdf
          Climate, PNW-GTR-812
297       Sharing the Fish: Toward a      1999                 P00000126789- National        https://www.nap.             September 25, 2018     No position
          National Policy on Individual                        P00000127225 Research Council edu/catalog/6335/sharing-
          Fishing Quotas                                                                     the-fish-toward-a-national-
                                                                                             policy-on-individual-fishing
298       Administration of Coral Reef    September 15, 2000   P00000127226- U.S. Dept. of     https://www.justice.         September 11, 2018   No objection
          Resources in the Northwest                           P00000127254 Justice            gov/sites/default/files/olc/
          Hawaiian Islands:                                                                    opinions/2000/09/31/op-
          Memorandum                                                                           olc-v024-p0183.pdf
299       An Ocean Blueprint for the      2004                 P00000127255- U.S. Commission http://govinfo.library.unt. September 25, 2018      No position
          21st Century                                         P00000127930 on Ocean Policy edu/oceancommission/doc
                                                                                             uments/full_color_rpt/wel
                                                                                             come.html
300       Natural Resource Trustees and 2009                   P00000127931- U.S. Dept. of     https://archive.epa.     September 25, 2018       No position
          Natural Resource Managers                            P00000127952 Interior / U.S.    gov/emergencies/content/
                                                                             EPA (Gregory      fss/web/pdf/hoguenatres
                                                                             Hogue)            mngts.pdf
301       The Science Behind              March 2015           P00000127953- NOAA              https://www.esrl.noaa.      September 10, 2018    No objection
          Atmospheric Rivers                                   P00000127953                    gov/psd/arportal/about/p
                                                                                               df/noaa-atmospheric-
                                                                                               rivers-infographic.pdf
302       Natural Resources and           n.d.                 P00000127954- U.S. Dept. of     https://www.doi.            September 25, 2018    No objection
          Services                                             P00000127955 Interior           gov/restoration/primer/re
                                                                                               sources
303       Atmospheric Rivers              2017                 P00000127956- NOAA, Earth    https://www.esrl.noaa.         September 10, 2018    No objection
                                                               P00000127957 System Research gov/psd/arportal/about/p
                                                                             Laboratory     df/atmos_rivers-2017.pdf
304       Hydrologic Cycle                n.d.                 P00000127958- NOAA              https://www.nwrfc.noaa. September 10, 2018        No position
                                                               P00000127963                    gov/info/water_cycle/hydr
                                                                                               ology.cgi
305       El Niño Southern Oscillation    n.d.                 P00000127964- NOAA              https://www.esrl.noaa.      September 10, 2018    No objection
          (ENSO)                                               P00000127964                    gov/psd/enso/




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Number                                                          (s) of         and/or Author of Location                    Accessed Document     Response
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306       Ocean Acidification: The Other n.d.                   P00000127965- NOAA               https://www.pmel.noaa.   September 12, 2018      No objection
          Carbon Dioxide Problem                                P00000127970                     gov/co2/story/Ocean+Acid
                                                                                                 ification
307       Public Trust Doctrine, Module    October 15, 2011     P00000127971- NOAA               https://web.archive.    September 20, 2018       No position
          2, Lesson 1 (3 of 4), The                             P00000127972                     org/web/20111021185258
          American Public Trust                                                                  /http://www.csc.noaa.
          Doctrine                                                                               gov/ptd/module02/lesson
                                                                                                 01/0201b.htm
308       Public Trust Doctrine, Module    October 15, 2011     P00000127973- NOAA               https://web.archive.    September 20, 2018       No position
          2, Lesson 2 (3 of 3), The Ebb                         P00000127973                     org/web/20111025120641
          and Flow of Application                                                                /http://www.csc.noaa.
                                                                                                 gov/ptd/module02/lesson
                                                                                                 02/0202b.htm
309       Public Trust Doctrine, Module    October 15, 2011     P00000127974- NOAA               https://web.archive.    September 11, 2018       No position
          9, Lesson 1 (1 of 2), Public                          P00000127975                     org/web/20111015200800
          Trust Cases: Past vs. Present                                                          /http://www.csc.noaa.
                                                                                                 gov/ptd/module09/lesson
                                                                                                 01/0901.htm
310       Water and Climate                n.d.                 P00000127976- NOAA               https://www.esrl.noaa.     September 10, 2018    No objection
                                                                P00000127980                     gov/research/themes/wat
                                                                                                 er/
311       Ocean-Atmosphere CO2             n.d.                 P00000127981- NOAA               https://sos.noaa.          September 12, 2018    No objection
          Exchange                                              P00000127983                     gov/datasets/ocean-
                                                                                                 atmosphere-co2-
                                                                                                 exchange/
312       United States v. BP              December 15, 2010    P00000127984- United States of   https://docs.justia.        September 25, 2018   No position
          Exploration & Production Inc.,                        P00000128040 America / U.S.      com/cases/federal/district-
          et al., 2:10-cv-04536-CJB-SS,                                       Dept. of Justice   courts/louisiana/laedce/2:
          Complaint of the United                                                                2010cv04536/144523/1
          States of America
313       Oil and Natural Gas Sector:      September 11, 2018   P00000128335- U.S. EPA           https://www.epa.            September 24, 2018   No objection
          Emission Standards for New,                           P00000128531                     gov/sites/production/files/
          Reconstructed, and Modified                                                            2018-
          Sources Reconsideration;                                                               09/documents/frnoilgasrec
          Proposed Rule                                                                          onsideration2060-
                                                                                                 at54nprm20180910.pdf




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Exhibit   Title of Document                Date of Document     Bates Number   Agency Source    Website URL/Document      Date Plaintiffs      Defendants'
Number                                                          (s) of         and/or Author of Location                  Accessed Document    Response
                                                                Document       Document
314       Waste Prevention, Production     September 18, 2018   P00000128532- U.S. BLM          https://www.blm.          September 19, 2018   No objection
          Subject to Royalties, and                             P00000128657                    gov/sites/blm.
          Resource Conservation;                                                                gov/files/Final%20Rule%
          Rescission or Revision of                                                             20-1004-AE53%20-%20%
          Certain Requirements                                                                  20Ready%20for%20OFR%
                                                                                                209.18.18_508%20%281%
                                                                                                29.pdf
315       Emission Guidelines for          August 31, 2018      P00000128658- U.S. EPA          https://www.regulations. August 27, 2018       No objection
          Greenhouse Gas Emissions                              P00000128725                    gov/document?D=EPA-HQ-
          from Existing Electric Utility                                                        OAR-2017-0355-21117
          Generating Units; Revisions to
          Emission Guideline
          Implementing Regulations;
          Revisions to
          New Source Review Program,
          Proposed Rule 40 CFR Part 51,
          52, and 60, EPA-HQ-OAR-
          2017-0355-21117
316       Grid Resiliency Pricing Rule     October 10, 2017     P00000128726- U.S. Dept. of     https://www.            October 7, 2017        No objection
                                                                P00000128734 Energy             federalregister.
                                                                                                gov/documents/2017/10/1
                                                                                                0/2017-21396/grid-
                                                                                                resiliency-pricing-rule
317       Oil Was Central in Decision to   March 2, 2018        P00000128735- Eric Lipton and   https://www.nytimes.      September 25, 2018   No position
          Shrink Bears Ears Monument,                           P00000128738 Lisa Friedman,     com/2018/03/02/climate/
          Emails Show                                                         The New York      bears-ears-national-
                                                                              Times             monument.html




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Number                                                        (s) of          and/or Author of Location                  Accessed Document     Response
                                                              Document        Document
318       Regulatory Impact Analysis for August 2018          P00000128739- U.S. EPA          https://www.epa.            September 24, 2018   No objection
          the Proposed Emission                               P00000129027                    gov/sites/production/files/
          Guidelines for Greenhouse                                                           2018-
          Gas                                                                                 08/documents/utilities_ria
           Emissions from Existing                                                            _proposed_ace_2018-08.
          Electric Utility Generating                                                         pdf
          Units; Revisions to Emission
           Guideline Implementing
          Regulations; Revisions to New
          Source Review Program, EPA-
          452/R-18-006
319       Press Release, EPA Proposes      August 21, 2018    P00000129028- U.S. EPA          https://www.epa.           September 26, 2018    No objection
          Affordable Clean Energy (ACE)                       P00000129029                    gov/newsreleases/epa-
          Rule                                                                                proposes-affordable-clean-
                                                                                              energy-ace-rule
320       Letter from Michael C.           March 27, 1975     P00000129335- Michael C.        Obtained from former       May 30, 2017          Objection -
          MacCracken, Deputy Division                         P00000129339 MacCracken         government employee                              Inadequate
          Leader, Atmospheric and                                                                                                              foundation
          Geophysical Sciences Division,
          Lawrence Livermore National
          Laboratory to Rudolf J.
          Engelmann, U.S. Energy
          Research and Development
          Administration
321       Climate Change and the           May 2016           P00000129340- U.S. EPA          https://nepis.epa.         August 16, 2017       No objection
          Health of Indigenous                                P00000129343                    gov/Exe/ZyPDF.
          Populations, EPA 430-F-16-                                                          cgi/P100OW3F.PDF?
          053                                                                                 Dockey=P100OW3F.PDF
322       Memo from Gene Sperling,         October 4, 1997    P00000129344- The White          Michael Waldman,          August 17, 2017       No position
          Kathleen McGinty, Daniel                            P00000129363 House, Gene        Speechwriter,” Clinton
          Tarullo, Jim Steinburg, and                                       Sperling et al.   Digital Library, https:
          Todd Stern to President                                                             //clinton.
          Clinton re: Climate Change                                                          presidentiallibraries.
          Recommendations                                                                     us/items/show/14681.
                                                                                              (PDF pg. 93)




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Number                                                          (s) of          and/or Author of Location                     Accessed Document    Response
                                                                Document        Document
323       E.P.A. Places the Head of its    September 26, 2018   P00000182780- The New York       https://www.nytimes.         October 12, 2018     New document not
          Office on Children's Health on                        P00000182782 Times               com/2018/09/26/climate/                           reviewed by
          Leave                                                                                  epa-etzel-children-health-                        Defendants
                                                                                                 program.html
324       Billion-Dollar Weather and       2018                 P00000129449- NOAA, National     https://www.ncdc.noaa.       September 24, 2018   No objection (but
          Climate Disasters: Table of                           P00000129464 Centers for         gov/billions/events/US/19                         note that the PDF
          Events                                                              Environmental      80-2018                                           provided is out of
                                                                              Information                                                          date because
                                                                                                                                                   website has since
                                                                                                                                                   been updated)
325       DHS Climate Action Plan          September 2013       P00000129465- U.S. Dept. of      https://www.dhs.            September 25, 2018    No position
                                                                P00000129506 Homeland            gov/sites/default/files/pub
                                                                              Security           lications/DHS%20Climate%
                                                                                                 20Action%20Plan.pdf
326       U.S. Energy-Related CO2          2017                 P00000129507- U.S. EIA           https://www.eia.             September 23, 2018   No objection
          Emissions Fell 1.7% in 2016                           P00000129508                     gov/todayinenergy/detail.
                                                                                                 php?id=30712
327       Renewable Fuel Standard:         2016                 P00000129509- U.S. Government https://www.gao.                September 23, 2018   No position
          Low Expected Production                               P00000129546 Accountability   gov/assets/690/681256.
          Volumes Make it Unlikely that                                       Office          pdf
          Advanced Biofuels can Meet
          Increasing Targets
328       Greenhouse Gas Mitigation        February 2013        P00000129547- ICF International, https://www.usda.            September 23, 2018   No objection
          Options and Costs for                                 P00000129816 USDA                gov/oce/climate_change/
          Agricultural Land and Animal                                                           mitigation_technologies/G
          Production within the United                                                           HG_Mitigation_Options.
          States, USDA Report No. AG-                                                            pdf
          3142-P-10-0214
329       Managing Agricultural Land       July 2016            P00000129817- ICF International, https://www.usda.            September 23, 2018   No objection
          for Greenhouse Gas                                    P00000129882 USDA                gov/oce/climate_change/
          Mitigation within the United                                                           White_Paper_WEB_Final_
          States, USDA Report No. AG-                                                            v3.pdf
          3144-D-14-0292




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Number                                                      (s) of          and/or Author of Location                    Accessed Document    Response
                                                            Document        Document
330       Hydrogen Station               May 2014           P00000129883- National            https://www.nrel.          September 23, 2018   No objection
          Compression, Storage, and                         P00000129956 Renewable            gov/docs/fy14osti/58564.
          Dispensing Technical Status                                     Energy              pdf
          and Costs. Technical Report:                                    Laboratory
          NREL/BK-6A10-58564
331       Life Cycle Greenhouse Gas      2015               P00000129957- Timothy Skone,      https://www.eia.         September 23, 2018     No objection
          Emissions: Natural Gas and                        P00000129975 U.S. EIA             gov/conference/2015/pdf/
          Power Production                                                                    presentations/skone.pdf
332       NOAA Fisheries, Species        n.d.               P00000129976- NOAA                https://www.fisheries.     September 25, 2018   No objection (but
          Directory                                         P00000129977                      noaa.gov/species-                               note that this
                                                                                              directory/threatened-                           website is regularly
                                                                                              endangered?                                     updated with new
                                                                                              species_title=salmon&field                      information)
                                                                                              _species_categories_vocab
                                                                                              _target_id=All&field_speci
                                                                                              es_status_v%E2%80%A6
333       Hydrogen Storage               2012               P00000129978- N. Stetson, U.S.    https://www.hydrogen.     September 23, 2018    No objection
                                                            P00000130009 Dept. of Energy      energy.
                                                                                              gov/pdfs/review12/st_plen
                                                                                              ary_stetson_2012_o.pdf
334       USDA Announces                 2016               P00000130012- USDA                https://www.usda.          September 23, 2018   No objection
          Conservation Reserve                              P00000130015                      gov/media/press-
          Program Results. Press                                                              releases/2016/05/05/usda
          Release No. 0105.16                                                                 -announces-conservation-
                                                                                              reserve-program-results
335       Fact of the Month May 2018:    May 2018           P00000130016- U.S. Dept. of       https://www.energy.        September 23, 2018   No objection
          10 Million Metric Tons of                         P00000130018 Energy, Office of    gov/eere/fuelcells/fact-
          Hydrogen Produced Annually                                      Energy Efficiency   month-may-2018-10-
          in the United States                                            & Renewable         million-metric-tons-
                                                                          Energy              hydrogen-produced-
                                                                                              annually-united-states
336       Reclamation. Managing Water 2005                  P00000130022- U.S. Dept. of       https://www.usbr.       September 23, 2018      No objection
          in the West. Hydroelectric                        P00000130047 Interior             gov/power/edu/pamphlet.
          Power.                                                                              pdf




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Number                                                        (s) of         and/or Author of Location                    Accessed Document    Response
                                                              Document       Document
337       Household Air Pollution and     March 2014          P00000130048- World Health      https://www.global-         September 24, 2018   No position
          Health, Fact Sheet No. 292                          P00000130052 Organization       economic-symposium.
                                                                                              org/knowledgebase/bringi
                                                                                              ng-electricity-to-the-
                                                                                              poor/virtual-library/who-
                                                                                              household-air-pollution-
                                                                                              and-health-
                                                                                              factsheet/at_download/fil
                                                                                              e
338       Federal Support for the      November 2015          P00000130053- Congressional     https://www.cbo.            August 27, 2018      No position
          Development, Production, and                        P00000130086 Budget Office      gov/sites/default/files/114
          Use of Fuels and Energy                                                             th-congress-2015-
          Technologies                                                                        2016/reports/50980-
                                                                                              energysupportonecol-3.pdf
339       Department of Energy, Pacific   September 7, 2018   P00000130087- U.S. Dept. of     https://www.gpo.          September 17, 2018     No objection
          Connector Gas Pipeline LP,                          P00000130088 Energy             gov/fdsys/pkg/FR-2018-09-
          Jordan Cove Energy Project                                                          07/pdf/2018-19403.pdf
          LP; Notice of Schedule for
          Environmental Review Pacific
          Connector Pipeline Project
          and Jordan Cove Energy
          Project, 83 Fed. Reg. 45435
340       About Commerce                  n.d.                P00000130089- U.S. Dept. of     https://www.commerce.       August 27, 2018      No objection
                                                              P00000130097 Commerce           gov/page/about-
                                                                                              commerce
341       About the Department of         January 27, 2017    P00000130098- U.S. Dept. of     https://web.archive.   August 28, 2018           No objection
          Defense (DOD)                                       P00000130100 Defense            org/web/20180823231811
                                                                                              /https://dod.defense.
                                                                                              gov/About/
342       About Interior                  n.d.                P00000130101- U.S. Dept. of     https://www.doi.            August 28, 2018      No objection
                                                              P00000130105 Interior           gov/whoweare
343       About the U.S. Department of    n.d.                P00000130106- USDA              https://www.usda.           August 27, 2018      No objection
          Agriculture                                         P00000130108                    gov/our-agency/about-
                                                                                              usda
344       FastStats - Asthma              March 31, 2017      P00000130109- CDC, National    https://www.cdc.             September 21, 2018   No position
                                                              P00000130116 Center for Health gov/nchs/fastats/asthma.
                                                                            Statistics       htm


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Number                                                          (s) of          and/or Author of Location                     Accessed Document    Response
                                                                Document        Document
345       Climate Change Increased          September 7, 2016   P00000130117- NOAA               https://www.noaa.            September 17, 2018   No objection
          Chances of Record Rains in                            P00000130119                     gov/media-
          Louisiana by at least 40                                                               release/climate-change-
          percent                                                                                increased-chances-of-
                                                                                                 record-rains-in-louisiana-
                                                                                                 by-at-least-40-percent
346       Coal Explained: Coal Imports      June 11, 2018       P00000130120- U.S. EIA           https://www.eia.             August 28, 2018      No objection
          and Exports                                           P00000130120                     gov/energyexplained/inde
                                                                                                 x.php?page=coal_imports
347       Council on Environmental          n.d.                P00000130122- CEQ                https://www.whitehouse.      August 28, 2018      No objection
          Quality                                               P00000130124                     gov/ceq/
348       Order Amending Long-term,         July 20, 2018       P00000130125- US Dept. of        https://fossil.energy.     August 27, 2018        No objection
          Multi-contract Authorization                          P00000130129 Energy, Office of   gov/ng_regulation/sites/d
          to Export Liquefied Natural                                         Fossil Energy      efault/files/programs/3041
          Gas by Vessel from the                                                                 -A_0.pdf
          Proposed Jordan Cove LNG
          Terminal to Free Trade
          Agreement Nations, FE Dkt.
          No. 11-127-LNG, A
349       Strategic Plan for Fiscal Years   2013                P00000130130- U.S. Dept. of      https://www.doi.             August 27, 2018      No objection
          2014-2018                                             P00000130185 Interior            gov/sites/doi.
                                                                                                 gov/files/migrated/pmb/p
                                                                                                 pp/upload/DOI-Strategic-
                                                                                                 Plan-for-FY-2014-2018-
                                                                                                 POSTED-ON-WEBSITE-4.
                                                                                                 pdf
350       Strategic Plan for Fiscal Years   2017                P00000130186- U.S. Dept. of      https://www.doi.             August 27, 2018      No objection
          2018-2022                                             P00000130237 Interior            gov/sites/doi.
                                                                                                 gov/files/uploads/fy2018-
                                                                                                 2022-strategic-plan.pdf
351       State of Louisiana—              2008                 P00000130238- Kosovich, J.J.,    https://pubs.usgs.           September 11, 2018   No objection
          Highlighting low-lying areas                          P00000130238 USGS                gov/sim/3049/
          derived from USGS digital
          elevation data: U.S. Geological
          Survey Scientific Investigations
          Map 3049, scale 1:700,000




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Number                                                       (s) of          and/or Author of Location                    Accessed Document    Response
                                                             Document        Document
352       Mission Areas                   n.d.               P00000130239- USDA               https://www.usda.           August 27, 2018      No objection
                                                             P00000130241                     gov/our-agency/about-
                                                                                              usda/mission-areas
353       Ensemble Projections of         2013               P00000130242- National Institute https://www.ncbi.nlm.nih.   September 17, 2018   No position
          Wildfire Activity and                              P00000130278 of Health, Xu Yue gov/pmc/articles/PMC376
          Carbonaceous Aerosol                                             et al.             3857/pdf/nihms494592.
          Concentrations Over the                                                             pdf
          Western United States in the
          Mid-21st Century
354       Office of Management and        n.d.               P00000130279- OMB                https://www.whitehouse.     August 27, 2018      No objection
          Budget                                             P00000130282                     gov/omb/
355       Office of Science and           n.d.               P00000130283- OSTP               https://www.whitehouse.     August 28, 2018      No objection
          Technology Policy                                  P00000130286                     gov/ostp/
356       Our Mission and What We Do      n.d.               P00000130287- U.S. EPA           https://www.epa.            August 27, 2018      No objection
                                                             P00000130290                     gov/aboutepa/our-
                                                                                              mission-and-what-we-do
357       Our Mission, Values, and        2016               P00000130291- U.S. Dept. of      https://www.state.          August 27, 2018      No objection
          History                                            P00000130292 State               gov/s/d/rm/rls/perfrpt/20
                                                                                              16/html/265067.htm
358       Permit List                     n.d.               P00000130293- U.S. Dept. of      https://www.state.       August 27, 2018         No objection
                                                             P00000130294 State               gov/p/wha/rt/permit/2740
                                                                                              63.htm
359       Quarterly Coal Report:          July 2018          P00000130295- U.S. EIA           https://www.eia.          August 28, 2018        No objection
          January-March 2018                                 P00000130359                     gov/coal/production/quart
                                                                                              erly/archive/012118q1.pdf
360       First on CNN: Tillerson Moves   August 29, 2017    P00000130360- CNN, Elise Labott https://www.cnn.          September 17, 2018      No position
          to Ditch Special Envoys                            P00000130361 et al.             com/2017/08/28/politics/t
                                                                                             illerson-state-dept-
                                                                                             envoys/index.html
361       Order Granting Long-Term        May 14, 2007       P00000130362- US Dept. of        https://fossil.energy.     September 12, 2018    No objection
          Authorization to Import and                        P00000130366 Energy, Office of   gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy      efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-22-                                                       egulation/authorizations/2
          NG                                                                                  007/orders/ord2351.pdf




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Number                                                       (s) of         and/or Author of Location                      Accessed Document   Response
                                                             Document       Document
362       Order Granting Long-Term        May 14, 2007       P00000130367- US Dept. of         https://fossil.energy.     September 12, 2018   No objection
          Authorization to Import and                        P00000130371 Energy, Office of    gov/ng_regulation/sites/d
          Export Natural Gas from and                                      Fossil Energy       efault/files/programs/gasr
          to Canada, FE Dkt. No. 07-26-                                                        egulation/authorizations/2
          NG                                                                                   007/orders/ord23551.pdf

363       Order Granting Long-Term        March 20, 1997     P00000130372- US Dept. of         https://fossil.energy.     September 10, 2018   No objection
          Authorization to Import                            P00000130376 Energy, Office of    gov/ng_regulation/sites/d
          Natural Gas from Canada, FE                                      Fossil Energy       efault/files/programs/gasr
          Dkt. No. 97-28-NG                                                                    egulation/authorizations/1
                                                                                               997/orders/ord1266.pdf
364       Valuing Climate Damages:        2017               P00000130377- National            https://www.nap.          September 24, 2018    No position
          Updating Estimation of the                         P00000130657 Academies of         edu/catalog/24651/valuing
          Social Cost of Carbon Dioxide                                    Sciences,           -climate-damages-
                                                                           Engineering, and    updating-estimation-of-
                                                                           Medicine            the-social-cost-of
365       The Fifth Annual Report of the December 1974       P00000130660- CEQ                 https://www.slideshare.     October 29, 2016    No objection
          Council on Environmental                           P00000131142                      net/whitehouse/august-
          Quality                                                                              1974-the-fifth-annual-
                                                                                               report-of-the-council-on-
                                                                                               environmental-quality
366       Climate Change: Energy        January 2014         P00000131143- U.S. Government https://www.gao.                June 29, 2016       No position
          Infrastructure Risks and                           P00000131216 Accountability   gov/assets/670/660558.
          Adaptation Efforts, GAO-14-74                                    Office          pdf
367       Changing Climate: Report of     1983               P00000131217- National            https://www.nap.            April 17, 2017      No position
          the Carbon Dioxide                                 P00000131734 Academy of           edu/catalog/18714/changi
          Assessment Committee                                             Sciences            ng-climate-report-of-the-
                                                                                               carbon-dioxide-
                                                                                               assessment-committee
368       Addressing America's Energy     October 14, 2009   P00000131735- Steven E. Koonin,   https://www.onr.navy.     May 4, 2017           No objection
          Challenges                                         P00000131770 Under Secretary      mil/-
                                                                           for Science and     /media/Files/Conferences/
                                                                           Energy, U.S.        Naval-Energy-Forum/Dr-
                                                                           Dept. of Energy     Koonin-Under-Secretary-
                                                                                               for-Science-DOE.ashx?
                                                                                               la=en




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Number                                                      (s) of          and/or Author of Location                   Accessed Document   Response
                                                            Document        Document
369       Children's Health Language     October 2, 2018    P00000182783- E&E News           https://www.eenews.    October 12, 2018        New document not
          Deleted from Climate Rule                         P00000182784                     net/eenewspm/2018/10/0                         reviewed by
                                                                                             2/stories/1060100339                           Defendants
370       Press Release, Excerpts of     August 31, 1988    P00000132056- The Vice           Ronald Reagan Presidential February 10, 2017   No position
          Remarks for Vice President                        P00000132062 President, Office   Library, White House Staff
          George Bush                                                     of the Press       Member and Office Files,
                                                                          Secretary          Ralph C. Bledsoe Files,
                                                                                             1985-1988, Domestic
                                                                                             Policy Council, Box 46
371       Statement of EPA               April 21, 1994     P00000132063    U.S. EPA, Office Obtained from former       April 2017          Objection -
          Administrator Carol M.                                            of               government employee                            inadequate
          Browner to the White House                                        Communications,                                                 foundation.
          Conference on Climate Action                                      Education and
                                                                            Public Affairs
372       White House Conference on      April 21, 1994     P00000132064- The White House Obtained from former          April 2017          Objection -
          Climate Action: Conference                        P00000132213                  government employee                               inadequate
          Summary                                                                                                                           foundation.
373       Press Release, EIA Report      November 8, 1994   P00000132214- U.S. EIA, U.S.     Obtained from former       April 2017          Objection -
          Shows Increase in U.S.                            P00000132216 Dept. of Energy     government employee                            inadequate
          Greenhouse Gas Emissions                                                                                                          foundation.
374       Memorandum, Government         1994               P00000132217- The White          William J Clinton          December 14, 2016   No position
          by Example: Federal                               P00000132228 House, Council of   Presidential Library,
          Greenhouse Gas Reduction                                        Economic           Council of Economic
          Initiative                                                      Advisors           Advisors, Michelle Jolin
                                                                                             Files
375       Memorandum from D. Allan       March 20, 1990     P00000132229- The White House George H.W. Bush              December 5, 2016    No position
          Bromley, Assistant to the                         P00000132330                  Presidential Library, White
          President for Science and                                                       House Office of Science
          Technology, to the DPC                                                          and Technology Policy
          Working Group on Global                                                         (OSTP), Allan Bromley
          Change, with the Preliminary                                                    Files, Global Climate
          Draft of The Economics of                                                       Change Files
          Global Climate Change: A
          Preliminary Assessment
          attached




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Number                                                      (s) of          and/or Author of Location                      Accessed Document   Response
                                                            Document        Document
376       Draft Memorandum from          April 23, 1992     P00000132331- White House        George H.W. Bush              December 5, 2016    No position
          Jonathan Wiener, Policy                           P00000132347 Policy Council      Presidential Library, White
          Counsel to D. Allan Bromley,                                                       House Office of Science
          Review of Cost Estimates of                                                        and Technology Policy
          Limiting Greenhouse Gas                                                            (OSTP), Allan Bromley
          Emissions                                                                          Files, Global Climate
                                                                                             Change Files
377       President William J. Clinton   July 24, 1997      P00000132348- William Clinton    Clinton Digital Library,      July 21, 2017       No position
          Climate Change Event                              P00000132354                     Office of Speechwriting
                                                                                             and Lowell Weiss, https:
                                                                                             //clinton.
                                                                                             presidentiallibraries.
                                                                                             us/items/show/47449 (pg.
                                                                                             11 of PDF)
378       The White House At Work        October 1, 1997    P00000132355- The White House Clinton Digital Library          September 6, 2017   No position
                                                            P00000132357                  Collection
379       Economic Report of the         February 1992      P00000132358- The White          http://www.presidency.        August 1, 2017      No position
          President                                         P00000132789 House, Council of   ucsb.
                                                                          Economic           edu/economic_reports/19
                                                                          Advisors           92.pdf
380       President William Jefferson    June 26, 1997      P00000132937- The White House Clinton Digital Library          July 15, 2017       No position
          Clinton Address to the UN                         P00000132954                  Collection, Michael
          Session on Environment and                                                      Waldman files, https:
          Development, New York City                                                      //clinton.
                                                                                          presidentiallibraries.
                                                                                          us/items/show/45822
381       National Energy Strategy:      1992               P00000132955- U.S. Dept. of      https://babel.hathitrust.     October 20, 2017    No objection
          Powerful Ideas for America;                       P00000133029 Energy              org/cgi/pt?id=uc1.
          One Year Later, DOE/S-                                                             31210024771527
          92008000




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Number                                                       (s) of         and/or Author of Location                     Accessed Document   Response
                                                             Document       Document
382       Impacts of the Kyoto Protocol   October 1998       P00000133030- U.S. EIA, U.S.     Government Printing          August 15, 2017    No objection
          on U.S. Energy Markets and                         P00000133276 Dept. of Energy     Office, https://catalog.gpo.
          Economic Activity                                                                   gov/F/?
                                                                                              func=direct&doc_number=
                                                                                              000500685&local_base=G
                                                                                              PO01PUB (archived direct
                                                                                              link only available: https:
                                                                                              //web.archive.
                                                                                              org/web/20110529091721
                                                                                              /http://www.eia.
                                                                                              gov/oiaf/kyoto/pdf/sroiaf9
                                                                                              803.pdf)
383       Towards a Sustainable          May 1999            P00000133277- The President's    Government Printing          August 15, 2017    No position
          America: Advancing                                 P00000133446 Council on          Office, https://catalog.gpo.
          Prosperity, Opportunity, and a                                   Sustainable        gov/F/?
          Healthy Environment for the                                      Development        func=direct&doc_number=
          21st Century                                                                        000566759&local_base=G
                                                                                              PO01PUB (direct link:
                                                                                              https:
                                                                                              //clintonwhitehouse2.
                                                                                              archives.
                                                                                              gov/PCSD/Publications/tsa
                                                                                              .pdf)
384       Climate Change Impacts on      2001                P00000133447- U.S. Global    https://data.globalchange. August 15, 2017          No position
          the United States: The                             P00000133968 Change Research gov/assets/e9/97/4361290
          Potential Consequences of                                        Program        58f2107f4925aeec13ed8/n
          Climate Variability and Change                                                  ca-2000-foundation-
                                                                                          report.pdf
385       Memorandum for the              October 19, 1977   P00000133969- Jim Schlesinger  Jimmy Carter Presidential     December 20, 2016   No position
          President; Briefing Material on                    P00000134014 and Stu Eizenstat Library
          National Energy Plan
386       The Direct Use of Coal          April 1979         P00000134015- U.S. Congress,     http://ota.fas.             March 24, 2017      No position
                                                             P00000134435 Office of           org/reports/7904.pdf
                                                                           Technology
                                                                           Assessment




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Number                                                         (s) of         and/or Author of Location                   Accessed Document    Response
                                                               Document       Document
387       Economics, Ethics, and           November 25, 1992   P00000135110- R.B. Howarth      U.S. Department of Energy, June 5, 2017         No objection
          Climate Policy                                       P00000135181 and P.A.           https://www.osti.
                                                                             Monahan,          gov/biblio/6478079-
                                                                             Lawrence          economics-ethics-climate-
                                                                             Berkeley          policy
                                                                             Laboratory
388       Public Trust Doctrine, Module    October 15, 2011    P00000135218- NOAA              https://web.archive.    September 20, 2018      No position
          1, Lesson 2 (1 of 2), For the                        P00000135219                    org/web/20111025120612
          Benefit of the Public                                                                /http://www.csc.noaa.
                                                                                               gov/ptd/module01/lesson
                                                                                               02/0102.htm
389       U.S. Natural Gas Pipeline        August 31, 2018     P00000135220- U.S. EIA          https://www.eia.         September 26, 2018     No objection
          Exports to Canada                                    P00000135220                    gov/dnav/ng/hist/n9132cn
                                                                                               2a.htm
390       U.S. Natural Gas Pipeline        August 31, 2018     P00000135221- U.S. EIA          https://www.eia.         September 26, 2018     No objection
          Imports From Canada                                  P00000135221                    gov/dnav/ng/hist/n9102cn
                                                                                               2a.htm
391       U.S. Natural Gas Pipeline        August 31, 2018     P00000135222- U.S. EIA          https://www.eia.           September 26, 2018   No objection
          Imports From Mexico                                  P00000135222                    gov/dnav/ng/hist/n9102m
                                                                                               x2a.htm
392       U.S. Natural Gas Pipeline        August 31, 2018     P00000135223- U.S. EIA          https://www.eia.           September 26, 2018   No objection
          Exports to Mexico                                    P00000135223                    gov/dnav/ng/hist/n9132m
                                                                                               x2a.htm
393       Global Energy Futures and        November 15, 1983   P00000135224- D.J. Rose, M.M.   https://dspace.mit.        September 27, 2018   No position
          CO2-Induced Climate Change                           P00000135561 Miller, and C.     edu/handle/1721.1/89569
                                                                             Agnew
394       Discounting for Public Policy:   January 2017        P00000135562- Council of        https://obamawhitehouse. September 27, 2018     No position
          Theory and Recent Evidence                           P00000135577 Economic           archives.
          on the Merits of Updating the                                      Advisors          gov/sites/default/files/pag
          Discount Rate                                                                        e/files/201701_cea_discou
                                                                                               nting_issue_brief.pdf
395       Discount Rate Policy             May 1991            P00000135578- U.S. Government https://www.gao.             September 27, 2018   No position
                                                               P00000135641 Accountability   gov/assets/80/76086.pdf
                                                                             Office




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Number                                                         (s) of          and/or Author of Location                       Accessed Document    Response
                                                               Document        Document
396       Response to Comments: Social July 2015               P00000135642- Interagency         https://obamawhitehouse. September 27, 2018        No position
          Cost of Carbon for Regulatory                        P00000135685 Working Group        archives.
          Impact Analysis Under                                              on Social Cost of   gov/sites/default/files/om
          Executive Order 12866                                              Carbon              b/inforeg/scc-response-to-
                                                                                                 comments-final-july-2015.
                                                                                                 pdf
397       Director's Order #100:           December 20, 2016   P00000135750- Jonathan B.         https://www.nps.              September 27, 2018   No objection
          Resource Stewardship for the                         P00000135764 Jarvis, National     gov/policy/DOrders/DO_1
          21st Century                                                       Park Service        00.htm
398       Executive Order 13690 -          January 30, 2015    P00000135765- Barack Obama        https://obamawhitehouse. September 27, 2018        No position
          Establishing a Federal Flood                         P00000135769                      archives.gov/the-press-
          Risk Management Standard                                                               office/2015/01/30/executi
          and a Process for Further                                                              ve-order-establishing-
          Soliciting and Considering                                                             federal-flood-risk-
          Stakeholder Input                                                                      management-standard-
                                                                                                 and-
399       Top Interior Officials Ordered   July 25, 2018       P00000135770- Elizabeth           https://www.revealnews.       September 27, 2018   No position
          Parks to End Science Policy,                         P00000135774 Shogren              org/blog/top-interior-
          Emails Show                                                                            officials-ordered-parks-to-
                                                                                                 end-science-policy-emails-
                                                                                                 show/
400       Regulatory Impact Analysis:      August 2012         P00000135775- U.S. EPA            https://nepis.epa.            September 27, 2018   No objection
          Final Rulemaking for 2017-                           P00000136329                      gov/Exe/ZyPDF.
          2025 Light-Duty Vehicle                                                                cgi/P100EZI1.PDF?
          Greenhouse Gas Emission                                                                Dockey=P100EZI1.PDF
          Standards and Corporate
          Average Fuel Economy
          Standards
401       Department of Interior           2014                P00000136330- U.S. Dept. of       https://www.doi.           August 9, 2017          No objection
          Climate Change Adaptation                            P00000136379 Interior             gov/sites/doi.
          Plan                                                                                   gov/files/migrated/greenin
                                                                                                 g/sustainability_plan/uplo
                                                                                                 ad/2014_DOI_Climate_Cha
                                                                                                 nge_Adaptation_Plan.pdf




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Number                                                        (s) of          and/or Author of Location                       Accessed Document    Response
                                                              Document        Document
402       Regulatory Impact Analysis of May 2016              P00000136380- U.S. EPA            https://www.regulations. September 27, 2018        No objection
          the Final Oil and Natural Gas                       P00000136575                      gov/contentStreamer?
          Sector: Emission Standards for                                                        documentId=EPA-HQ-OAR-
          New, Reconstructed, and                                                               2010-0505-
          Modified Sources                                                                      7630&contentType=pdf
403       Regulatory Impact Analysis for July 2016            P00000136576- U.S. EPA            https://nepis.epa.            September 27, 2018   No objection (but
          the Final Revisions to the                          P00000136800                      gov/Exe/ZyPDF.                                     note that version
          Emission Guidelines for                                                               cgi/P100R1BF.PDF?                                  provided is not the
          Existing Sources and The New                                                          Dockey=P100R1BF.PDF                                final version of this
          Source Performance                                                                                                                       document as
          Standards in the Municipal                                                                                                               indicated by heading)
          Solid Waste Landfills Sector
404       Final Updates to Performance    July 2016           P00000136803- U.S. EPA            https://www.epa.            September 27, 2018     No objection
          Standards for New, Modified                         P00000136808                      gov/sites/production/files/
          and Reconstructed Landfills,                                                          2016-
          and Updates to Emission                                                               09/documents/landfills-
          Guidelines for Existing                                                               final-nsps-eg-factsheet.pdf
          Landfills: Fact Sheet
405       EPA's Actions to Reduce         May 2016            P00000136809- U.S. EPA            https://www.epa.            September 27, 2018     No objection
          Methane Emissions from the                          P00000136814                      gov/sites/production/files/
          Oil and Natural Gas Industry:                                                         2016-09/documents/nsps-
          Final Rules and Draft                                                                 overview-fs.pdf
          Information Collection
          Request
406       Environmental Assessment:       November 10, 2016   P00000136815- U.S. BLM            https://www.regulations.      September 27, 2018   No objection
          Waste Prevention, Production                        P00000136901                      gov/contentStreamer?
          Subject to Royalties, and                                                             documentId=BLM-2016-
          Resource Conservation                                                                 0001-
                                                                                                9128&contentType=pdf
407       Document Collection: William    1992                P00000183180- Allan Bromley,      George H.W. Bush              December 5, 2016     New document not
          Cline, Summary from Report                          P00000183199 White House          Presidential Library, White                        reviewed by
          on The Economics of Global                                        Office of Science   House Office of Science                            Defendants
          Warming, and Accompanying                                         and Technology      and Technology Policy
          Correspondence                                                    Policy              (OSTP), Allan Bromley
                                                                                                Files, Global Climate
                                                                                                Change Files




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Number                                                          (s) of         and/or Author of Location                    Accessed Document   Response
                                                                Document       Document
408       Withdrawal of Proposed Rules December 22, 2017        P00000137069- Dept. of Housing https://www.gpo.          September 27, 2018     No position
          To Reduce Regulatory and                              P00000137069 and Urban         gov/fdsys/pkg/FR-2017-12-
          Financial Burden                                                    Development      22/pdf/2017-27615.pdf
409       Floodplain Management and        October 28, 2016     P00000137070- Dept. of Housing https://www.gpo.          September 27, 2018     No position
          Protection of Wetlands;                               P00000137082 and Urban         gov/fdsys/pkg/FR-2016-10-
          Minimum Property Standards                                          Development      28/pdf/2016-25521.pdf
          for Flood Hazard Exposure;
          Building to the Federal Flood
          Risk Management Standard
410       Oil and Gas Resources,           September 13, 2018   P00000137125- USDA, Forest      https://www.              September 28, 2018    No objection
          Advance Notice of Proposed                            P00000137127 Service            federalregister.
          Rulemaking; Request for                                                               gov/documents/2018/09/1
          Comment, 83 Fed. Reg. 46458                                                           3/2018-19962/oil-and-gas-
                                                                                                resources
411       Glaciers, Ice Sheets, and Sea    September 1985       P00000137593- U.S. Dept. of     https://www.osti.         January 10, 2017      No objection
          Level: Effect of a CO2-Induced                        P00000137939 Energy             gov/servlets/purl/5045109
          Climatic Change
412       Environmental Quality: The       September 1973       P00000137943- CEQ               https://www.slideshare.     November 29, 2016   No objection
          Fourth Annual Report of the                           P00000138465                    net/whitehouse/august-
          Council on Environmental                                                              1973-the-third-annual-
          Quality                                                                               report-of-the-council-on-
                                                                                                environmental-quality
413       Changing Climate                 September 1968       P00000138466- J.O. Fletcher     National Archives and       April 7, 2017       No position
                                                                P00000138493                    Records Administration,
                                                                                                Records of the National
                                                                                                Science Foundation,
                                                                                                Record Group 307

414       Physical and Dynamical Basis   January 11, 1973       P00000138494- W.W. Kellogg et   National Archives and       April 7, 2017       No position
          for Predicting Climate Change:                        P00000138550 al.                Records Administration,
          A Research Proposal                                                                   Records of the National
                                                                                                Science Foundation,
                                                                                                Record Group 307




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Number                                                         (s) of         and/or Author of Location                    Accessed Document   Response
                                                               Document       Document
415       Environmental Quality: The      September 1976       P00000138551- CEQ               https://www.slideshare.     November 29, 2016   No objection
          Seventh Annual Report of the                         P00000138975                    net/whitehouse/august-
          Council on Environmental                                                             1976-the-seventh-annual-
          Quality                                                                              report-of-the-council-on-
                                                                                               environmental-quality
416       Testimony of S. David           September 16, 1988   P00000138976- S. David Freeman Hein Online database:        April 25, 2017      No position
          Freeman before the Senate                            P00000138982                   https://heinonline.
          Environment and Public                                                              org/HOL/Page?
          Works Committee on S. 2666                                                          handle=hein.
          (Global Environmental                                                               cbhear/cbhearings3869&c
          Protection Act of 1988)                                                             ollection=congrec&id=318
                                                                                              &startid=318&endid=323
417       The Potential Effects of Global 1989                 P00000138985- U.S. EPA          https://nepis.epa.          May 1, 2017         No objection
          Climate Change on the United                         P00000139174                    gov/Exe/ZyPDF.
          States: Appendix J Policy                                                            cgi/91012SZV.PDF?
                                                                                               Dockey=91012SZV.PDF
418       Carbon Dioxide Effects          April 2-6, 1979      P00000139175- Dr. Roger         Obtained from former        May 30, 2017        Objection -
          Research and Assessment                              P00000139302 Revelle,           government employee                             inadequate
          Program, Workshop on                                               Chairman                                                          foundation
          Environmental and Societal
          Consequences of a Possible
          CO2-Induced Climate Change
419       Letter to John F. Kennedy       February 14, 1961    P00000139303- Clinton P.        National Archives Records   June 8, 2017        No position
          from Sen. Clinton Anderson                           P00000139309 Anderson           Administration, John F.
          regarding article called "Can                                                        Kennedy Presidential
          We Survive Technology?" by                                                           Library
          John von Neumann
420       Issue Paper Global Climate      May 28, 1986         P00000139310- Ad Hoc Sub-       National Archives Records February 10, 2017     No position
          Change Draft                                         P00000139314 Working Group      Administration, Ronald
                                                                             on Climate        Reagan Presidential Library
                                                                             Change




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                                                               Document        Document
421       Energy Sources for the Future   July 1975            P00000139329- Oak Ridge          https://www.osti.         June 29, 2017           No objection
                                                               P00000139636 Associated          gov/servlets/purl/7351669
                                                                             Universities, U.S.
                                                                             Energy Research
                                                                             and
                                                                             Development
                                                                             Administration,
                                                                             Division of
                                                                             Biomedical and
                                                                             Environmental
                                                                             Research
422       Document collection: Memo       January 10, 1991     P00000139637- Ken; Allen         George H.W. Bush              December 5, 2016    No position
          from Ken to Allan Bromley;                           P00000139645 Bromley             Presidential Library, White
          Memos from Allan Bromley                                                              House Office of Science
                                                                                                and Technology Policy
                                                                                                (OSTP), Allan Bromley
                                                                                                Files, Global Climate
                                                                                                Change Files
423       Climate Change, Points for      September 17, 1997   P00000139646- U.S. Dept. of      George Washington             July 12, 2017       No position
          Briefing of the President                            P00000139647 State               University NSA archive:
                                                                                                https://nsarchive2.gwu.
                                                                                                edu/NSAEBB/NSAEBB303/
                                                                                                Document%209.pdf
424       Climate Change: Potential       December 10, 2009    P00000139648- Congressional   https://www.            July 19, 2017                No position
          Regulation of Stationary                             P00000139681 Research Service everycrsreport.
          Greenhouse Gas Sources                                                             com/files/20091210_R405
          Under the Clean Air Act                                                            85_e94745bb78c90e966c6
                                                                                             6774d64d5806552a19409.
                                                                                             pdf
425       Aviation and Climate Change     January 27, 2010     P00000139682- Congressional   https://www.                     July 19, 2017       No position
                                                               P00000139696 Research Service everycrsreport.
                                                                                             com/files/20100127_R400
                                                                                             90_d4e682926fcf49d5d77
                                                                                             919d93d53e357688ebcc1.
                                                                                             pdf




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                                                             Document       Document
426       Talking it Over                October 7, 1997     P00000139698- Hillary Rodham    National Archives Records   August 29, 2017      No position
                                                             P00000139699 Clinton            Administration, Clinton
                                                                                             Digital Library
427       Carbon Dioxide and Climate:    March 31, 1983      P00000139700- Congressional   Congressional Research        August 3, 2017       Objection -
          The Greenhouse Effect                              P00000139750 Research Service Service                                            inadequate
                                                                                                                                              foundation.
428       How Fast Can We Safely Burn    November 29, 1977   P00000139751- Congressman       HeinOnline database: http: August 3, 2017        No position
          Coal?                                              P00000139753 Bob Wilson         //heinonline.
                                                                                             org/HOL/Page?
                                                                                             handle=hein.
                                                                                             congrec/cr1230029&collec
                                                                                             tion=congrec&id=1078&st
                                                                                             artid=1078&endid=1079;
                                                                                             https://www.govinfo.
                                                                                             gov/content/pkg/GPO-
                                                                                             CRECB-1977-
                                                                                             pt29/pdf/GPO-CRECB-
                                                                                             1977-pt29.pdf
429       Preparing for an Uncertain     October 1993        P00000139754- Office of         https://ota.fas.            September 27, 2017   No position
          Climate-Vol. II, OTA-O-568                         P00000140142 Technology         org/reports/9339.pdf
                                                                           Assessment
430       Text of Letter from the        March 13, 2001      P00000141289   President George National Archives Records January 5, 2018        No position
          President to Senators Hagel,                                      W. Bush          Administration, George W.
          Helms, Craig, and Roberts                                                          Bush White House Web
                                                                                             Archive: https:
                                                                                             //georgewbush-
                                                                                             whitehouse.archives.
                                                                                             gov/news/releases/2001/0
                                                                                             3/20010314.html




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                                                               Document       Document
431       Testimony of Gary S. Guzy       October 6, 1999      P00000141290- Gary S. Guzy,     https://archive.epa.      October 4, 2018     No objection
          before a Joint Hearing before                        P00000141293 General Council    gov/ocir/hearings/testimo
          a Joint Hearing of the                                             U.S. EPA          ny/106_1999_2000/web/h
          Subcommittee on National                                                             tml/100699gg.html
          Economic Growth, Natural
          Resources and Regulatory
          Affairs of the Committee on
          Government Reform and the
          Subcommittee on Energy and
          Environment of the
          Committee on Science
432       Energy Efficiency &             n.d.                 P00000141295   U.S. Dept. of    http://ctsedwweb.ee.doe. October 6, 2018      No objection
          Renewable Energy,                                                   Energy           gov/Annual/Report/Compr
          Comprehensive Energy Data                                                            ehensiveGreenhouseGasG
          and Sustainability                                                                   HGInventoriesByAgencyAn
          Performance                                                                          dFiscalYear.aspx
433       Carbon Dioxide Affects Global   1969                 P00000141296- Eugene K.         https://pubs.acs.         October 4, 2018     No position
          Ecology                                              P00000141303 Peterson, U.S.     org/doi/pdf/10.
                                                                             BLM               1021/es60034a011
434       EPA, Clean Air Act Overview,    last updated March   P00000141305- U.S. EPA          https://www.epa.          October 8, 2018     No objection
          Air Pollution: Current and      22, 2018             P00000141314                    gov/clean-air-act-
          Future Challenges                                                                    overview/air-pollution-
                                                                                               current-and-future-
                                                                                               challenges
435       Intergovernmental Panel on      1990                 P00000141315- Intergovernment https://www.ipcc.          October 4, 2018      No position
          Climate Change, Climate                              P00000141342 al Panel on      ch/ipccreports/far/wg_I/ip
          Change: The IPCC Scientific                                        Climate Change cc_far_wg_I_spm.pdf
          Assessment, Policymakers
          Summary
436       Small Hydro and Low-Head        March 2010           P00000141343- Congressional   https://www.                July 19, 2017       No position
          Hydro Power Technologies                             P00000141361 Research Service everycrsreport.
          and Prospects                                                                      com/files/20100301_R410
                                                                                             89_6e8c9c43d2560ac6e10
                                                                                             a1372dbcdaadc4f934e48.
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                           Plaintiffs' Third Motion in Limine Seeking Judicial Notice of Publicly Available Documents

Exhibit   Title of Document               Date of Document     Bates Number    Agency Source    Website URL/Document        Date Plaintiffs     Defendants'
Number                                                         (s) of          and/or Author of Location                    Accessed Document   Response
                                                               Document        Document
437       Climate Effects on Health       last updated July 26, P00000141370   CDC              https://www.cdc.          October 9, 2018       No position
                                          2016                                                  gov/climateandhealth/effe
                                                                                                cts/default.htm
438       FastStats - Allergies and Hay   last updated March   P00000141371- CDC, National    https://www.cdc.              October 9, 2018     No position
          Fever                           30, 2017             P00000141372 Center for Health gov/nchs/fastats/allergies.
                                                                             Statistics       htm
439       Will the Administration      October 9, 1998         P00000141373- Kathleen           Government Printing         August 15, 2017     No position
          Implement the Kyoto Protocol                         P00000141455 McGinty, chair,     Office: http://purl.fdlp.
          Through the Back Door?,                                            Council on         gov/GPO/gpo63037
          Hearing before the                                                 Environmental
          Subcommittee on National                                           Quality, et al.
          Economic Growth, Natural
          Resources, and Regulatory
          Affairs, of the Committee on
          Government Reform and
          Oversight, House of
          Representatives, One
          Hundred Fifth Congress
          (numerous documents)
440       Oil Shale Management;           2008                 P00000183200- U.S. BLM           https://www.regulations.    October 15, 2018    New document not
          General, 43 CFR 3900, 3910,                          P00000183274                     gov/document?D=BLM-                             reviewed by
          3920, Fed. Registry Number:                                                           2008-0004-0697                                  Defendants
          E8-27025




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Exhibit   Title of Document               Date of Document   Bates Number   Agency Source    Website URL/Document     Date Plaintiffs     Defendants'
Number                                                       (s) of         and/or Author of Location                 Accessed Document   Response
                                                             Document       Document
441       Energy Conservation Program     January 9, 2009    P00000183275- U.S. DOE         https://www.               October 15, 2018   New document not
          for Commercial and Industrial                      P00000183326                   federalregister.                              reviewed by
          Equipment: Energy                                                                 gov/documents/2009/01/0                       Defendants
          Conservation Standards for                                                        9/E8-31449/energy-
          Commercial Ice-Cream                                                              conservation-program-for-
          Freezers; Self-Contained                                                          commercial-and-industrial-
          Commercial Refrigerators,                                                         equipment-energy-
          Commercial Freezers, and                                                          conservation-standards
          Commercial Refrigerator-
          Freezers Without Doors; and
          Remote Condensing
          Commercial Refrigerators,
          Commercial Freezers, and
          Commercial Refrigerator-
          Freezers, Final Rule, 74 Fed.
          Reg. 1091
442       Regulatory Impact Analysis for May 2010            P00000183327- U.S. EPA         https://nepis.epa.        October 15, 2018    New document not
          the Final Prevention of                            P00000183556                   gov/Exe/ZyPDF.                                reviewed by
          Significant Deterioration and                                                     cgi/P10074FR.PDF?                             Defendants
          Title V Greenhouse Gas                                                            Dockey=P10074FR.PDF
          Tailoring Rule, Final Report
443       Energy Conservation Program: January 8, 2010       P00000183557- U.S. DOE         https://www.gpo.          October 15, 2018    New document not
          Energy Conservation                                P00000183614                   gov/fdsys/pkg/FR-2010-01-                     reviewed by
          Standards for Certain                                                             08/pdf/E9-30891.pdf                           Defendants
          Consumer Products
          (Dishwashers, Dehumidifiers,
          Microwave Ovens, and Electric
          and Gas Kitchen Ranges and
          Ovens) and for Certain
          Commercial and Industrial
          Equipment (Commercial
          Clothes Washers); Final Rule,
          75 Fed. Reg. 1122, 1146-47




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Exhibit   Title of Document               Date of Document    Bates Number   Agency Source    Website URL/Document         Date Plaintiffs     Defendants'
Number                                                        (s) of         and/or Author of Location                     Accessed Document   Response
                                                              Document       Document
444       Final Rulemaking to Establish   April 2010          P00000183615- U.S. EPA          https://nepis.epa.           October 15, 2018    New document not
          Light-Duty Vehicle                                  P00000184088                    gov/Exe/ZyPDF.                                   reviewed by
          Greenhouse Gas Emission                                                             cgi/P1006V2V.PDF?                                Defendants
          Standards and Corporate                                                             Dockey=P1006V2V.PDF
          Average Fuel Economy
          Standards Regulatory Impact
          Analysis
445       Joint Technical Support         August 2012         P00000184089- U.S. EPA, NHTSA   https://www.nhtsa.           October 15, 2018    New document not
          Document: Final Rulemaking                          P00000184689                    gov/sites/nhtsa.dot.                             reviewed by
          for 2017-2025 Light-Duty                                                            gov/files/joint_final_tsd.                       Defendants
          Vehicle Greenhouse Gas                                                              pdf
          Emission Standards and
          Corporate Average Fuel
          Economy Standards, EPA-420-
          R-12-901
446       Technical Support Document:     May 2013            P00000184690- U.S. DOE          https://www.regulations.     October 15, 2018    New document not
          Energy Efficiency Program for                       P00000185183                    gov/document?D=EERE-                             reviewed by
          Consumer Products and                                                               2011-BT-STD-0048-0021                            Defendants
          Commercial and Industrial
          Equipment: Residential
          Microwave Ovens - Stand By
          Power
447       Technical Support Document:     January 16, 2015    P00000185184- U.S. DOE          https://www.regulations.     October 15, 2018    New document not
          Energy Efficiency Program for                       P00000185858                    gov/document?D=EERE-                             reviewed by
          Consumer Products and                                                               2013-BT-STD-0021-0012                            Defendants
          Commercial and Industrial
          Equipment: Commercial
          Warm Air Furnaces
448       Technical Support Document:     September 9, 2016   P00000186202- U.S. DOE          https://www.regulations.     October 15, 2018    New document not
          Energy Efficiency Program for                       P00000186783                    gov/document?D=EERE-                             reviewed by
          Consumer Products and                                                               2011-BT-STD-0043-0118                            Defendants
          Commercial and Industrial
          Equipment: Miscellaneous
          Refrigeration Products




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Exhibit   Title of Document               Date of Document   Bates Number   Agency Source    Website URL/Document       Date Plaintiffs     Defendants'
Number                                                       (s) of         and/or Author of Location                   Accessed Document   Response
                                                             Document       Document
449       Preliminary Regulatory Impact July 2018            P00000186862- U.S. EPA, NHSTA   https://www.regulations. October 15, 2018      New document not
          Analysis, The Safer Affordable                     P00000188482                    gov/document?D=EPA-HQ-                         reviewed by
          Fuel-Efficient (SAFE) Vehicles                                                     OAR-2018-0283-0774                             Defendants
          Rule for Model Year 2021 –
          2026 Passenger Cars and Light
          Trucks
450       Final Rule Technical Support  December 2014        P00000188483- U.S. DOE          https://www.regulations.   October 15, 2018    New document not
          Document Energy                                    P00000189440                    gov/document?D=EERE-                           reviewed by
          Conservation Program for                                                           2011-BT-STD-0006-0066                          Defendants
          Consumer Products and
          Certain Commercial and
          Industrial Equipment: General
          Service Fluorescent Lamps and
          Incandescent Reflector Lamps
451       Final Rulemaking to Establish   April 2010         P00000189445- U.S. EPA, NHSTA   https://nepis.epa.         October 15, 2018    New document not
          Light-Duty Vehicle                                 P00000189659                    gov/Exe/ZyPDF.cgi?                             reviewed by
          Greenhouse Gas Emission                                                            Dockey=P1006W9S.PDF                            Defendants
          Standards and Corporate
          Average Fuel Economy
          Standards, Joint Technical
          Support Document, EPA-420-
          R-10-901 (Model Years 2012-
          2016)
452       Regulatory Impact Analysis for August 31, 2018     P00000189700- U.S. BLM          https://www.regulations.   October 15, 2018    New document not
          the Final Rule to Rescind or                       P00000189809                    gov/document?D=BLM-                            reviewed by
          Revise Certain Requirements                                                        2018-0001-223607                               Defendants
          of the 2016 Waste Prevention
          Rule




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